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    EXHIBIT 115 – PART 1
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                                                                         Page 1

 1                 IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS
 2
 3
 4       LAMONTE MCINTYRE, et             )
         al.,                             )
 5                                        )
                     Plaintiffs,          )
 6                                        )
         v.                               )
 7                                        ) Case No.
         UNIFIED GOVERNMENT OF            ) 2:18-cv-02545-KVH-KGG
 8       WYANDOTTE COUNTY AND             )
         KANSAS CITY, KS, et              )
 9       al.,                             )
                                          )
10                   Defendants.          )
11
12
13
14
15                              (VOLUME I)
16
17
18                   VIDEOTAPED ZOOM DEPOSITION OF            REDACTED
        REDACTED
19             , a Witness, taken on behalf of the
20      Plaintiffs before Cassandra L. Sinthusy, CCR,
21      RMR, CRR, pursuant to Notice on the 18th day of
22      December, 2020, at the offices of LATHROP GPM
23      LLP, 2345 Grand Boulevard, Suite 2200, Kansas
24      City, Missouri 64108.
25

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                                                          Page 2                                                             Page 4
  1          APPEARANCES                                            1 FOR THE WITNESS:
  2 FOR THE PLAINTIFFS:                                             2   Mr. Robert J. Hoffman
  3   Ms. Cheryl A. Pilate
      Ms. Lindsay Runnels                                               BRYAN CAVE LEIGHTON PAISNER
  4   Ms. Kylie Mank (Appearing via Zoom)                           3   One Kansas City Place
      Ms. Maci Morgan (Appearing via Zoom)                              1200 Main Street, Suite 3800
  5   MORGAN PILATE, LLC                                            4   Kansas City, MO 64105
      926 Cherry Street
  6   Kansas City, MO 64106
                                                                        816.668.3229
      816.471.6694                                                  5   rjhoffman@bclplaw.com
  7   cpilate@morganpilate.com                                      6 THE VIDEOGRAPHER:
  8   Mr. Michael J. Abrams                                         7   Mr. Rick Deasley
      LATHROP GPM LLP
  9   2345 Grand Boulevard
                                                                        VERITEXT
      Suite 2200                                                    8
 10   Kansas City, MO 64108                                         9 ALSO PRESENT:
      816.292.2000                                                 10   Lamonte McIntyre (Appearing via Zoom)
 11   michael.abrams@lathropgpm.com
 12   Ms. Emma Freudenberger (Appearing via Zoom)
                                                                   11
      Mr. Barry Scheck (Appearing via Zoom)                        12
 13   NEUFELD, SCHECK & BRUSTIN, LLP                               13
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 14   Eighth Floor
                                                                   15
      New York, New York 10013
 15   212.965.9081                                                 16
      emma@nsbcivilrights.com                                      17
 16   barry@nsbcivilrights.com                                     18
 17
                                                                   19
 18
 19                                                                20
 20                                                                21
 21                                                                22
 22
                                                                   23
 23
 24                                                                24
 25                                                                25
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 1 FOR THE DEFENDANT UNIFIED GOVERNMENT OF WYANDOTTE                1              INDEX
   COUNTY AND KANSAS CITY, KANSAS:
 2
                                                                    2   WITNESS:                       PAGE:
     Mr. David R. Cooper (Appearing via Zoom)                       3   REDACTED   REDACTED

 3   FISHER, PATTERSON, SAYLER & SMITH, LLP                         4     EXAMINATION BY MS. PILATE                      7
     3550 Southwest 5th Street                                      5
 4   Topeka, KS 66606
     785.232.7761                                                   6             EXHIBITS
 5   dcooper@fpsslaw.com                                            7   NO.      DESCRIPTION:                PAGE:
 6   Mr. Edward James Bain (Appearing via Zoom)                     8   Exhibit 10 Photographs of Jack Swall    33
     UNIFIED GOVERNMENT OF WYANDOTTE COUNTY/
 7   KANSAS CITY, KANSAS
                                                                               Auto
     Legal Department                                               9
 8   701 North 7th Street, Suite 961                                  Exhibit 11 Photographs of 24th Street      34
     Kansas City, KS 66101                                                                 REDACTED
                                                                   10         behind
 9   913.573.5060
     jbain@wycokck.org                                             11 Exhibit 12 Photographs of 55th and         55
10                                                                            Leavenworth Road
11 FOR THE DEFENDANT ROGER GOLUBSKI:                               12
12   Mr. Morgan L. Roach
     Mr. Nicholas Ruble (Appearing via Zoom)                          Exhibit 13 Photographs Behind the KFC         62
13   McCAULEY & ROACH, LLC                                         13         at 38th and State
     527 West 39th Street                                          14 Exhibit 14 Photographs of Chouteau          69
14   Suite 200
     Kansas City, MO 64111
                                                                              Court Apartments on
15   816.523.1700                                                  15         Independence Avenue, KCMO
     morgan@mccauleyroach.com                                      16 Exhibit 15 Photographs of Riverbank         86
16   nick@mccauleyroach.com                                                   and Train Tracks
17 FOR THE DEFENDANTS THE ESTATE OF DETECTIVE JAMES
   MICHAEL KRISTOLICH, DETECTIVE DENNIS WARE,                      17
18 OFFICER JAMES L. BROWN, THE ESTATE OF LIEUTENANT                   Exhibit 16 Photographs of I-70 and        92
   DENNIS OTTO BARBER, DETECTIVE CLYDE BLOOD,                      18         Third Street
19 DETECTIVE W.K. SMITH, and ESTATE OF LIEUTENANT
   STEVE CULP:
                                                                   19 Exhibit 17 Photographs of Oak Grove         108
20                                                                            Cemetery
     Ms. Elizabeth Evers Guerra                                    20
21   SANDERS WARREN RUSSELL & SCHEER LLP
     9401 Indian Creek Parkway
                                                                   21 (Reporter's Note: Exhibits were sent with the
22   Suite 1250                                                       transcript.)
     Overland Park, KS 66210                                       22
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24                                                                 24
25                                                                 25

                                                                                                                   2 (Pages 2 - 5)
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                                                        Page 6                                                      Page 8
  1       (Deposition commenced at 11:05 a.m.)                    1      Q. And are you represented here today by an
  2             THE VIDEOGRAPHER: Today is Friday,                2   attorney?
  3   December 18, 2020. We will go on the record at              3      A. Yes.
  4   11:05 a.m. We are here to take the deposition of            4      Q. Okay. Is he the one sitting behind you
  5   REDACTEDREDACTEDCase Number 2:18-cv-02545-KHV-KGG           5   to your left?
  6   in the U.S. District Court for the District of              6      A. Yes. Hey, buddy.
  7   Kansas.                                                     7      Q. Okay. Is that -- we should say for the
  8          Would counsel state their names and                  8   record who that is. Is that Bob Hoffman?
  9   affiliations for the record, please, beginning              9      A. Yes.
 10   with counsel in the room.                                  10      Q. Okay. How are you feeling today?
 11             MS. PILATE: Good morning. This is                11      A. I'm feeling fine.
 12   Cheryl Pilate, and I am one of the attorneys for           12      Q. Okay. Are you on any medications that
 13   Plaintiffs.                                                13   would hinder your ability to understand or answer
 14             MR. ABRAMS: Michael Abrams on                    14   questions?
 15   behalf of Plaintiffs.                                      15      A. No, ma'am.
 16             MS. RUNNELS: Lindsay Runnels on                  16      Q. Did you at any point in your life reside
 17   behalf of Plaintiffs.                                      17   in Kansas City, Kansas?
 18             MR. HOFFMAN: Robert Hoffman; I'm                 18      A. Yes.
 19   here representing the witness.                             19      Q. And when was that?
 20             MS. EVERS GUERRA: Elizabeth Evers                20      A. Most -- majority of my life.
 21   Guerra on behalf of the Estate of Detective James          21      Q. Okay. And do you now live elsewhere?
 22   Kristolich, Detective Dennis Ware, the Estate of           22      A. Yes.
 23   Lieutenant Dennis Barber, Officer James Brown,             23      Q. Okay. And elsewhere in the metropolitan
 24   Detective Clyde Blood, Detective W.K. Smith, and           24   area?
 25   the Estate of Sergeant Steve Culp.                         25      A. Yes.
                                                        Page 7                                                      Page 9
 1              MR. ROACH: Morgan Roach on behalf                 1      Q. Okay. Do you know someone named Roger
 2    of Roger Golubski.                                          2   Golubski?
 3              THE VIDEOGRAPHER: Would counsel                   3      A. Yes.
 4    attending on Zoom please state your names and               4      Q. Okay. When did you first meet Roger
 5    affiliations for the record, please.                        5   Golubski?
 6              MR. COOPER: For the Unified                       6      A. I don't remember the exact date.
 7    Government appearing remotely is David Cooper.              7      Q. Just give an approximate time period.
 8              MR. BAIN: For the Unified                         8      A. He may have reached out to me
 9    Government appearing remotely is Edward James               9   mid-evening time by cell phone.
10    Bain.                                                      10      Q. How old were you then?
11              MR. RUBLE: For Defendant Roger                   11      A. 13.
12    Golubski, Nicholas Ruble.                                  12      Q. Okay. And when he contacted you by cell
13              THE VIDEOGRAPHER: Would the court                13   phone, was that the first time you ever spoke to
14    reporter please swear the witness.                         14   him?
15                REDACTED     REDACTED
                                                                 15      A. Yes.
16    being first duly sworn, testified under oath as            16      Q. And did you know at that point who he
17    follows:                                                   17   was?
18                 EXAMINATION                                   18      A. No.
19    BY MS. PILATE:                                             19      Q. What did he tell you in that phone call?
20       Q. Good morning.                                        20      A. He said he needed to speak with me
21       A. Good morning.                                        21   regarding an incident that had took place earlier
22       Q. For the record, could you please                     22   that week. And he said that my name was listed
23    identify yourself by first and last name.                  23   as one of the witnesses to -- either involvement
24       A. Sure. My first name is REDACTED                      24   or a witness to it. And if I didn't want to go
25     REDACTED , last name is REDACTEDREDACTED.                 25   to jail, I need to get to him and talk to him and

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                                                 Page 10                                                    Page 12
 1   tell my side of the story, but if I go to the          1   to, you know, figure out what he was talking
 2   police station, it'll be recorded and most likely      2   about as well, so I agreed for the meeting
 3   I'll go to jail. And so he asked me to meet him        3   because I had no clue and was terrified.
 4   at a place and we try to come up with, you know,       4      Q. Okay. At that time what kind of school
 5   a place that I felt secure and so we chose --          5   did you attend, were you in a high school or a
 6   well, not we. He chose Walmart and I agreed with       6   middle school or another kind of school?
 7   it.                                                    7      A. I was in a middle school.
 8       Q. Did the phone call cause you concern?           8      Q. Okay. So you were a middle school
 9       A. Yeah, very much so.                             9   student?
10       Q. Did you have any idea what he was              10      A. Yes.
11   talking about?                                        11      Q. Okay. And what was your living
12       A. I didn't have any idea. And still to           12   situation?
13   this day I have no knowledge of what he was           13      A. At the time I was staying with my
14   talking about.                                        14   grandmother. Do I say her name?
15       Q. Was there any incident that you knew of        15      Q. Okay. You don't -- was this be -- at
16   that you were a witness to?                           16   any point were you in foster care?
17       A. No.                                            17      A. Yes, I was in foster care.
18       Q. Was there any incident that you knew of        18      Q. Okay. At the time that he contacted
19   that you were involved with?                          19   you, were you in foster care?
20       A. No.                                            20      A. I can't remember to my knowledge.
21       Q. Did -- did he seem to be pushing you to        21      Q. Okay. Had you recently been in foster
22   meet with him?                                        22   care?
23             MR. ROACH: Object to the form.              23      A. Yeah, I -- I know I had been in there, I
24       Q. (BY MS. PILATE) You can go ahead.              24   can't remember if it was right when I had got out
25             MS. EVERS GUERRA: And just for the          25   or if it was right at the -- I knew -- it was
                                                 Page 11                                                    Page 13
 1   record, can we have the same agreement of the          1   either at the very end or the beginning of me
 2   objection for one is an objection for all,             2   staying with my grandmother.
 3   Cheryl?                                                3       Q. Okay. Do you know how he got your phone
 4           MS. PILATE: Yes.                               4   number?
 5           MS. EVERS GUERRA: Thank you.                   5       A. No, I don't.
 6           MS. PILATE: Yes, I'm sorry. I                  6       Q. Do you know how he knew anything about
 7   said yes.                                              7   you?
 8           MS. EVERS GUERRA: That's okay.                 8       A. No. I have no idea.
 9           MS. PILATE: Yes.                               9       Q. How did you feel about meeting him in
10      Q. (BY MS. PILATE) You can go ahead.               10   the Walmart parking lot?
11      A. Oh. You have to repeat the question, if         11       A. I felt okay with it because it was a
12   you don't mind.                                       12   public place. And I didn't really think much of
13      Q. Let me -- let me re-ask the question            13   it, honestly. I just really was nervous as to
14   since there was an objection. Did there seem to       14   what he could be possibly talking about because I
15   be any kind of urgency or pressing to the way he      15   knew I hadn't had any encounters or been around
16   spoke to you on the phone and what he urged you       16   anyone, so...
17   to do?                                                17       Q. Okay. What did you understand as the
18           MR. ROACH: Same objection.                    18   reason for meeting at Walmart as opposed to at
19      Q. (BY MS. PILATE) Go ahead.                       19   the police station?
20      A. I would kind of say that it was, like,          20       A. Well, he said if I went to the police
21   he made it to where it was something that needed      21   station, it was a chance that I would be
22   to be handled immediately.                            22   arrested. He was trying to figure out what role
23      Q. Okay.                                           23   I played in it, if I was a witness or accomplice
24      A. So I would say that it was a bit urgent.        24   to whatever happened earlier that week. So --
25   And for my own protection and safety, I wanted        25   and even though I had no recognition of it, or I

                                                                                               4 (Pages 10 - 13)
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                                                  Page 14                                                     Page 16
 1   had no involvement with it, he said that if I           1       A. At that time I was a bit relieved.
 2   came to the police station, it was a chance that        2       Q. And where was this Walmart located?
 3   I would be arrested. And so if I wanted to save         3       A. 64th and State Avenue.
 4   myself, meet with him and it won't be on record,        4       Q. Okay. Is that Walmart still there?
 5   that way I won't be in any trouble if something         5       A. No. It's not there anymore.
 6   was to come out.                                        6       Q. Okay. What happened when you got to the
 7      Q. Okay. How did all of that cause you to            7   parking lot, did you go to his vehicle?
 8   feel?                                                   8       A. I walked up to the driver's side, he
 9      A. I was, like, extremely confused. I was            9   asked me who I -- well, he asked me my name and I
10   lost, I -- you know, I was also scared.                10   said it was me, and he said hop in. And at that
11      Q. Uh-huh. Did you have any understanding           11   time I got into the passenger side. And do I
12   why any officer would discourage you from going        12   proceed on?
13   to the police station?                                 13       Q. What happened then?
14      A. No. I really thought he was trying to            14       A. He began to ask me questions about my
15   help me, you know. Like, I thought it was a            15   past.
16   mix-up, but we would get it straightened out, you      16       Q. Like, what kind of questions?
17   know.                                                  17       A. About my background, like, that -- like,
18      Q. Okay. And did you go ahead and meet him          18   who's the -- name a couple people that I hang
19   at the Walmart parking lot?                            19   around, and he also asked me who did I cherish
20      A. Yes, I did.                                      20   the most in the world, like, who did I feel,
21      Q. Okay. And how did you get there?                 21   like, meant the most to me. And I didn't -- I
22      A. I walked from -- I got dropped off at a          22   was thrown off by that question, but I answered
23   cousin's house to stay, like, a couple blocks          23   it, and I replied my grandmother. And when I
24   off -- away from there, and so I walked over           24   asked him why did he ask me that, and he said in
25   there to the Walmart.                                  25   case this has to go further, I need to know who I
                                                  Page 15                                                     Page 17
 1      Q. Okay. And was it the same day as the        1         need to speak with.
 2   phone call or --                                  2            Q. Okay. And what was your reaction to
 3      A. Yes, the same. It was later on that         3         that?
 4   evening, but yes.                                 4            A. I really didn't have no reaction because
 5      Q. Okay. Do you recall about what time it      5         I didn't feel like anything would go further
 6   was or time of day it was?                        6         because I knew I hadn't done anything.
 7      A. I would say, like, around 6:00-ish or       7            Q. Okay. What did -- did you ever discuss
 8   7:00-ish.                                         8         with him any incident as he had referenced on the
 9      Q. Okay. And how did you locate him in the 9             phone?
10   parking lot?                                     10            A. No. The incidents that he said that he
11      A. Because he flashed his headlight.          11         was reaching out to me for was never brought up,
12      Q. Okay. Did he see you approach?             12         not one time. And to be totally honest, I didn't
13      A. He had asked me what was I wearing and 13             even -- I didn't bring it up because, you know,
14   whatever so he could be looking for me, and that 14         like, I knew it wasn't an incident that occurred,
15   was it. And so when I got to the parking lot     15         but clearly I feel like, you know, it may have
16   from the way that I had to come, I had no clue 16           been something else; at the time, I didn't know,
17   where he was. And from my peripheral vision, I 17           but he never brought up an incident that I could
18   kept seeing lights flashing. And so I proceeded 18          have had any dealings with.
19   to the car cautiously, but I wasn't sure if it   19            Q. Okay. Was the first part of the
20   was him because I never heard of him, seen him, 20          encounter such that the conversation did not
21   or anything, so --                               21         alarm you?
22      Q. Okay.                                      22            A. I raised -- it may have raised an
23      A. -- yeah, I was a bit lost for a second,    23         eyebrow with me. He came off as if he was
24   but then he made it clear who he was, so...      24         concerned and as if he cared. And so when I gave
25      Q. Okay.                                      25         him a little bit about my history and the abuse

                                                                                                 5 (Pages 14 - 17)
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 1   and stuff that I had been through in foster homes     1   jumped and he was like, you don't have anything
 2   and things, I thought that, you know, he would        2   to worry about, and I'm here to protect you, and
 3   empathize with me, and you know, like, maybe even     3   all this and that. And then he said I'm going to
 4   help me get justice at some point.                    4   have to -- I'm going to have to let you know up
 5      Q. Okay. So you shared a little bit with           5   front I'm not into playing games, I'm not into
 6   him, you told him who was important to you in         6   lies, and a couple other things he said, as he
 7   your family, and you told him that you'd been         7   kept his hand on my thigh. And so I asked him
 8   abused in a foster home?                              8   what -- you know, where are we going from here,
 9      A. Yes.                                            9   and he was like, you're going to see -- and as he
10      Q. Okay. Do you remember anything else you        10   did that, he proceeds to put his hand closer and
11   discussed?                                           11   closer to my vaginal area. And I kind of made a
12      A. I told him about the sexual abuse that I       12   sudden move, I guess, that he didn't really like,
13   encountered at the foster homes, and he asked me     13   so he kind of got upset feeling. I'm sorry, I
14   was I -- did I do anything to mislead the person     14   can't say he was feeling like, but his reaction
15   that had done those things to me. He said women      15   was like, calm down, I'm overreacting.
16   sometimes lead men on, and you know, play victim     16      Q. Okay. Were you -- what was your feeling
17   or whatever the case is. And I assured him I         17   at that point?
18   didn't do anything of that nature and, you know,     18      A. I was just thinking, like, not again,
19   I didn't deserve that, even though I felt I          19   you know, like, why me.
20   didn't have to explain that to him. I just           20      Q. When you say not again, were you
21   wanted to keep it crystal clear.                     21   thinking about abuse and that you were being
22         And again, I'm thinking he's on my side,       22   abused again?
23   so when I'm confiding in him, I'm telling him        23      A. Yes. I was -- I was referring to
24   about all the things that I endured, hoping that     24   another person that's acting concerned or like
25   he would, you know, take it in and maybe could       25   they care, and yet again, taking advantage of it.
                                                Page 19                                                     Page 21
 1   even help me at some point, but...                    1      Q. Okay. Do you remember anything he said
 2      Q. Did the tone or tenor of your                   2   after that?
 3   conversation with him change at any point?            3      A. He told me just keep my mouth shut and
 4      A. Yes.                                            4   that if I wanted to see my sweet little grandma
 5      Q. Okay. What happened?                            5   again, he advised me not to talk to anyone or
 6      A. He made a statement saying he can't             6   speak to anybody, and basically act as if he
 7   believe someone would do such cruel things to         7   didn't exist.
 8   such a beautiful person, and that the person that     8      Q. Okay. Did you --
 9   did that to me is a coward and -- that was            9      A. Or I would be kissing my grandma goodbye
10   practically it. And as he's saying that, he's        10   or my brother would be doing life in jail.
11   acting as if he's consoling me, so he places his     11      Q. Did you perceive that as a threat?
12   hand -- his right hand on my left thigh.             12      A. Yes.
13      Q. And what did his hands do when he              13      Q. Okay. What was your interpretation of
14   touched your thigh?                                  14   that situation, was he saying you have to submit
15      A. He just kind of laid it there and, you         15   to this or I'm going to hurt your family?
16   know, he may have, like, not squeeze to where it     16             MR. ROACH: Object to the form.
17   left a impact or anything, but you know, just        17      Q. (BY MS. PILATE) You can answer.
18   tightening of the hand. You know, like, a slight     18      A. Okay. He didn't put it in -- he didn't
19   rub.                                                 19   say it in that way. His words were actually this
20      Q. Okay. Did that cause you any concern?          20   is your chance, either you love your grandma --
21      A. Yes, it did.                                   21   either -- I call her grandmother; he said
22      Q. Okay. Did you say anything?                    22   grandma. But he said, "Either you love your
23      A. No.                                            23   grandma or you don't; you make the decision."
24      Q. What happened after that?                      24      Q. Okay. So again, that's what he said to
25      A. I think I -- my reaction was I kind of         25   you?

                                                                                               6 (Pages 18 - 21)
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 1       A. Yes.                                            1      A. I'm not on your F'ing time. On your
 2       Q. "Either you love your grandma or you            2   fucking time.
 3   don't; you make the decision"?                         3      Q. Okay. Did you know what he meant by
 4       A. Yes.                                            4   that?
 5       Q. Okay. And how did you interpret that?           5      A. At that time, I didn't.
 6            MR. ROACH: Object to the form.                6      Q. And I think you said he put two of his
 7       Q. (BY MS. PILATE) You can answer.                 7   fingers in your vagina?
 8       A. I took it as if I didn't comply with            8      A. Yes.
 9   him, then it would probably be consequences for        9      Q. How long did he keep his fingers there?
10   it.                                                   10      A. Maybe about three to four minutes.
11       Q. Did you know what those consequences           11      Q. Okay. Can you describe what he did.
12   were?                                                 12   Did he rub you, did he do anything to himself?
13       A. Well, he told me I could kiss her              13      A. No. Oh. So he put, like, two fingers
14   goodbye, so I knew that was one of the                14   in my vaginal area and he began moving them
15   consequences. And another one was that my             15   around. He made remarks like, I'm going to make
16   brother would possibly do life in jail. He can        16   this my -- am I supposed to cuss and say what was
17   put some charge on him and make sure he doesn't       17   said or --
18   see daylight again.                                   18      Q. Yes. Please say exactly what was said.
19       Q. Okay. Were you afraid at that point?           19      A. Okay. He said, "I'm going to make this
20       A. Yes.                                           20   my pussy from now on." And, "You don't have to
21       Q. Do you remember what happened that day         21   worry about those other fuckers, I'll take care
22   in terms of his hands being on your body? Did he      22   of them." And he just continued to play with my
23   go into private areas of your body?                   23   vaginal area. And then he reached and unzipped
24       A. Yes, he did.                                   24   his pants and began fondling his penis.
25       Q. Okay. Could you please describe that.          25      Q. Okay. Did he continue that for a while?
                                                 Page 23                                                     Page 25
 1      A. When he asked me to make the decision, I         1      A. It only lasted, like, three to
 2   just sighed and took a deep breath, and you know,      2   four minutes.
 3   I -- I sat back. And I said so, what are you --        3      Q. Okay. Do you remember if he ejaculated?
 4   you know, what are -- what is it that you're           4      A. Yes.
 5   asking me to do. And he was like, "For one, stop       5      Q. Did he?
 6   talking so much." And so I just -- I was quiet         6      A. Yes.
 7   after that. And he started reaching for my             7      Q. And what happened after he ejaculated?
 8   buttons on my shorts or whatnot. And I remember        8      A. He said some things to me about not
 9   asking him, like, are you serious, and he was          9   running my mouth and not -- not taking what he
10   like, "Don't back talk me." And he was just, you      10   said for granted, like, don't dare try it because
11   know, mumbling on little threats as he inserted       11   he -- he's very well known and don't nothing
12   two of his fingers into my vaginal area.              12   happen in the city without him knowing about it.
13          I'm sorry. I left off the part where           13      Q. Okay. I have a suggestion from someone
14   he -- when he unbuttoned my pants, he asked me to     14   else here that maybe taking off the mask would be
15   lift up my buttocks area and he asked me to pull      15   a little more comfortable for you.
16   my shorts down, and he had me pull them, like,        16      A. Oh. It's fine.
17   midway to my knees. And he made the comment           17      Q. Okay. Are you all able to understand?
18   "open wide."                                          18      A. Oh. Are you having a hard time
19      Q. Okay. And what did open wide mean?              19   understanding me?
20      A. Like, open my legs. Because like, I was         20             MR. ABRAMS: It may be better --
21   kind of -- I had my pants down, but I still kind      21      Q. (BY MS. PILATE) No. We're just focused
22   of had my legs, you know, closed, but -- and then     22   on you --
23   he, like, tapped on my leg, like, come on. And        23             MR. ABRAMS: If you're not going to
24   then he was like, I'm not on your F'ing time.         24   put it on, it may be better.
25      Q. I'm not what?                                   25             THE WITNESS: Oh, okay.

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                                                 Page 26                                                     Page 28
 1      Q. (BY MS. PILATE) So what did you                  1   private call, restricted, something like that.
 2   understand those words to mean?                        2      Q. Okay. Did he say he wanted to see you
 3      A. Basically just don't tell what just took         3   again soon?
 4   place.                                                 4      A. No.
 5      Q. Okay. What would happen if you did               5      Q. Okay. Did he contact you again?
 6   tell?                                                  6      A. Yes, he did.
 7            MR. ROACH: Object to the form.                7      Q. Okay. And when was that approximately?
 8      Q. (BY MS. PILATE) Did he tell you what             8      A. Maybe about four days later.
 9   would happen if you did tell?                          9      Q. Okay. And what -- do you remember what
10      A. Yes.                                            10   you were doing or where you were when he
11      Q. Okay. And what was that?                        11   contacted you?
12      A. That I would be kissing my sweet little         12      A. I was over at my Godsister's house when
13   grandma goodbye. And my brother as well.              13   I -- when he called. And I stepped out on to the
14      Q. Okay. Did he know who your grandmother          14   porch. The first time I didn't answer it and he
15   was?                                                  15   called right back, and so I answered it and he
16      A. Yes.                                            16   made a joke, like, "That's what I thought, I knew
17      Q. Did he say anything about your grandma?         17   you'd fucking answer," and chuckled. And so I
18      A. Yes. He did. He said if you try -- he           18   sat there quietly. And he was like are you
19   said try me and think I'm playing. He said my         19   around anyone right now, and I was like no. And
20   grandma's name, but he pronounced it wrong, but       20   asked me where I was, so I told him. And then he
21   he did say her name. He also mentioned the color      21   told me where to meet him. He asked me if I had
22   scrub uniform she had on earlier that morning.        22   a ride, I told him no. And so then he told me
23      Q. Okay. When you say a scrub uniform, you         23   where to meet him.
24   mean, like, a nursing --                              24      Q. Okay. And where did he tell you to meet
25      A. A nurse's uniform, yes. That she left           25   him?
                                                 Page 27                                                     Page 29
 1   out in that morning to go to work. And it was      1          A. He told me to meet him on -- right -- at
 2   pink and navy blue. And he said, "Your grandma     2       that time I was on, like, 9th and Central; I was
 3   looked good in that pink and navy blue, hopefully  3       supposed to meet him on, like, 12th -- it's,
 4   that's not the last outfit you see her in."        4       like, an auto mechanic shop or something like
 5   Meaning if I ran my mouth, then that would be the  5       that off of, like, 12th and Central.
 6   case.                                              6          Q. Okay. Some kind of auto place at 12th
 7      Q. What feeling did you have at this point?     7       and Central?
 8      A. I was just distraught. I was, like I         8          A. Yeah, like, a mechanic shop.
 9   said, lost, confused, had no understanding         9          Q. Okay. And did you go there?
10   whatsoever, none. Don't know how I was targeted, 10           A. Yes.
11   don't know how he got my number, don't know why 11            Q. Okay. And was he there when you
12   he chose me, but I knew that I was in something   12       arrived?
13   that I probably couldn't get myself out of alone. 13          A. Yes.
14      Q. Okay. Were you afraid?                      14          Q. And where was he?
15      A. Yes.                                        15          A. He was parked along the street before I
16      Q. Did he say anything about seeing you        16       even got to the mechanic -- mechanical shop. I
17   again?                                            17       saw it on my left, but I saw him before I even
18      A. Yes.                                        18       got there.
19      Q. Okay. And what did he say about that?       19          Q. Okay. And what happened next?
20      A. He said that when he calls my phone, I      20          A. First, I kind of stood there and he was
21   need to answer or I need to call him back within  21       like, "Dumbass, don't just stand there, I'm on
22   five minutes.                                     22       duty." And I proceeded to get in the front seat,
23      Q. Okay. And when he called you, how did       23       and he was like, ah, ah, ah. And I'm like, you
24   his phone number appear on your phone?            24       know, I was confused on why -- what was I
25      A. It showed up as a restricted call, or       25       supposed to do. And he said you need to get in
                                                                                                8 (Pages 26 - 29)
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  1   the back seat. And so I got in the back seat and      1   someone's -- Barry's on. You got to mute
  2   he said ah, ah, ah again. And he said that I          2   yourself, Barry.
  3   needed to be on the floorboard because he's on        3            MR. SCHECK: Okay. Yeah.
  4   duty.                                                 4            MR. ABRAMS: Okay.
  5      Q. Okay.                                           5            MS. PILATE: Is everybody ready to
  6      A. And so at that time I -- he scooted the         6   proceed?
  7   passenger seat up and I was on the back seat on       7            THE WITNESS: Yes.
  8   the floor.                                            8            MR. HOFFMAN: Yes.
  9      Q. Okay. When you got into his car, how            9      Q. (BY MS. PILATE) Okay. Do you recognize
 10   far were you from the auto place?                    10   this building or this area?
 11      A. Not far. It was, like, right there.            11      A. Yes.
 12   Like, maybe two buildings down or something.         12      Q. Okay. And what is this, please?
 13      Q. Okay. Let's see. Do you know the name          13      A. That's the auto mechanic shop that I was
 14   of the auto place?                                   14   going to meet him at.
 15      A. I don't know. Swan or something like           15      Q. Okay. And if I heard you right, you
 16   that maybe.                                          16   said that the -- you were slightly away from the
 17      Q. Okay.                                          17   shop --
 18            MS. PILATE: Can we mark as -- what          18      A. Yes.
 19   exhibit -- we're on 10 now. I think we're doing      19      Q. -- maybe by a couple buildings when you
 20   continuous numbering. And it would be Exhibit N.     20   got in his vehicle?
 21            MS. RUNNELS: You want to do 10?             21      A. Yes.
 22            MS. PILATE: Yeah, it'll be Number           22      Q. Okay. After you got in his vehicle,
 23   10. What we have internally marked as N, as in       23   what happened next?
 24   Nancy, will be Number 10. Does it go up on the       24      A. We left from where we were, kind of
 25   screen? The doings here are mysterious. Thank        25   drove in a circle a little bit, seeming as if he
                                                 Page 31                                                     Page 33
  1   you, Lindsay.                                         1   was trying to find a destination that was out of
  2            THE WITNESS: Oh, yeah.                       2   public view or plain sight or whatever. And he
  3            MS. PILATE: Can -- I don't                   3   started to get frustrated because a couple --
  4   think --                                              4   well, one area he pulled into, it wasn't as
  5            MR. ABRAMS: Yeah, Lindsay, you may           5   covered as he thought, so he end up going to
  6   have to go out and go back into it. You may have      6   another place on 24th Street behind an elementary
  7   to have it open.                                      7   school, it's, like, a little alleyway and it had
  8            MS. RUNNELS: It shows I'm shared.            8   trees that kind of came down. So once he backed
  9            MR. ABRAMS: No, I mean in the                9   up in there, like, you really -- you can see the
 10   document.                                            10   car, but you can't see anything taking place.
 11            MS. PILATE: You know what, let's            11   And that was the destination, I guess, for the
 12   take just a two-minute break here to figure out      12   second encounter.
 13   the tech. We're in a strange new world. Do you       13      Q. Okay. I should put on the record here
 14   all mind? I just want to make sure we don't          14   that the photograph that you just identified of
 15   waste your time.                                     15   the auto place we're marking as Exhibit 10.
 16            THE VIDEOGRAPHER: We're going off           16            (REDACTEDExhibit 10 was marked for
 17   the record at 11:38 a.m.                             17   identification.)
 18            (Short break was taken.)                    18            MS. PILATE: Okay. And do you want
 19            THE VIDEOGRAPHER: We're back on             19   to go to A now?
 20   the record, 11:46 a.m.                               20            MS. RUNNELS: This set is 10.
 21            MS. PILATE: Okay. Everybody                 21            MS. PILATE: Okay. There's a set
 22   ready?                                               22   of photos, a series of photos. You know, we
 23            MR. SCHECK: I must say, I'm                 23   should put them all up if we're going to have her
 24   watching the deposition. What's up?                  24   identify them.
 25            MR. ABRAMS: All right,                      25            MR. ABRAMS: And Lindsay, you got

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  1   to mark -- you have to physically mark --            1      Q. Okay. And once you arrived at the
  2             MS. RUNNELS: I did.                        2   school, did he say anything to you?
  3             MR. ABRAMS: -- the -- oh, okay.            3      A. Yes.
  4   Sorry.                                               4      Q. Okay. What did he say?
  5      Q. (BY MS. PILATE) Okay. We have                  5      A. He wanted to establish the rules.
  6   apparently more than one photo of Exhibit 10, so     6      Q. Okay. Could you go ahead and explain
  7   let's look at them. Okay. Do you recognize the       7   what you mean by the rules.
  8   areas depicted in those photos?                      8      A. The rules were, I had to abide by the
  9      A. Yes.                                           9   rules or I would end up with one or two
 10      Q. Okay. And I think you said that this          10   consequences, possibly three. Me leaving this
 11   was at or around 12th and Central; is that          11   earth as well, if I didn't abide by his demands.
 12   correct?                                            12   One of his demands was for me to call him Papi,
 13      A. Yes.                                          13   or Big Daddy. I was not allowed to address him
 14      Q. Okay. Okay, we're done with that now.         14   by name. Another rule was, of course, I couldn't
 15   This series of photos which started with the        15   speak to anyone about the matter or try -- you
 16   satellite photo and then zoomed in to the           16   know, try to report it or whatever because it
 17   building is Plaintiff's Exhibit 10. And we're       17   would be pointless. I am not to back talk him or
 18   now going to another set of photos, what's our      18   I'm not allowed to ask questions during the
 19   internal letter A exhibit, we are marking as        19   duration of us being in the car, you know,
 20   Plaintiff's Exhibit 11.                             20   together. I'm to remain seated on the black --
 21             (REDACTEDExhibit 11 was marked for        21   on the back seat floor behind the passenger
 22   identification.)                                    22   seat --
 23             MS. PILATE: Okay. Can you flip            23      Q. Okay.
 24   those photos.                                       24      A. -- at all times.
 25      Q. (BY MS. PILATE) Okay. Do you recognize        25      Q. Okay. And what position were you on the
                                                Page 35                                                    Page 37
  1   this area?                                           1   floor?
  2      A. Yes.                                           2      A. My bottom was on the floor and, like, my
  3      Q. And what is this?                              3   knees -- I was much smaller, so it's a bit
  4      A. This is the area that we drove to when         4   easier. But I was -- I was sitting on the floor
  5   we left the mechanic shop.                           5   on my behind and my knees were bunched up, like,
  6      Q. Okay. Is this the school that you had          6   to my chin with, and like, my hands would just be
  7   mentioned --                                         7   wrapped around my legs or whatever.
  8      A. Yes.                                           8      Q. Okay. So you were seated in a pose
  9      Q. -- as your destination?                        9   where you were very -- as compact as possible --
 10      A. Yes.                                          10      A. Yes.
 11      Q. Once you reached the school, what             11      Q. -- on the floor of the back seat?
 12   happened next?                                      12      A. Yes.
 13      A. It was a -- like, a little alleyway. He       13      Q. Okay. Scrunched up?
 14   backed in to the alley to where we were out of,     14      A. Yes.
 15   like, view. You could see the car, but you can't    15      Q. What was the purpose of you sitting in
 16   really see much because the trees were hanging      16   that pose?
 17   down.                                               17            MR. ROACH: Object to the form.
 18      Q. Okay.                                         18      Q. (BY MS. PILATE) Do you know what the
 19      A. And...                                        19   purpose was, did he tell you?
 20      Q. Okay. Did he say anything to you?             20      A. He didn't want me to be seen. He was on
 21      A. During the drive or anything?                 21   duty. And -- he just -- he didn't want me to be
 22      Q. Yeah.                                         22   seen at all.
 23      A. No.                                           23      Q. Okay. How did you feel when you heard
 24      Q. Did he tell you where you were going?         24   these rules?
 25      A. No.                                           25      A. I just -- I just felt scared, terrified.

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  1   One, that maybe I might not remember a rule,            1   vicinity, but I would always want to walk the
  2   like, you know, I'm -- I was not allowed to ask         2   rest because I would have to stash my phone until
  3   questions, and that was something that I did            3   it was over.
  4   quite often, so I knew that that would be               4      Q. Okay. What caused you to comply with
  5   challenging for me. I was not allowed to look           5   his directions?
  6   up, you know, out the window or anything when --        6      A. I didn't take light of his threats. He
  7   unless we are at a destination and we're parked.        7   seemed very stern, and I didn't feel like he made
  8      Q. Okay. Does that mean you weren't                  8   a threat that he couldn't keep.
  9   supposed to know where you were?                        9      Q. Okay. Once you reached the area of the
 10            MR. ROACH: Object to the form.                10   school that we just looked at on the screen as
 11      Q. (BY MS. PILATE) How did you interpret            11   Exhibit 11, right, what happened there, did he
 12   that?                                                  12   touch you?
 13      A. Basically, yeah, like, I -- my eyes was          13      A. He got out the driver side and walked
 14   his eyes, you know, basically. Like, I don't           14   around to the passenger side. He told me to get
 15   need to see anything; he's seeing what he needs        15   up. I began to get up. When I got up, he -- I
 16   to see. Like, I'm supposed to be seated and look       16   was kind of leaning against the car facing him
 17   at the back of the seat or whatever the case           17   and he began kissing me and telling me he
 18   might be, but I'm not to look up at him or look        18   loved -- he loved me and he's in love with me,
 19   out the window.                                        19   and I belong to him and things of that nature.
 20      Q. Okay. Do you remember anything about             20         Then he began -- proceeded to put his
 21   his rear view mirror?                                  21   hands down my pants and began fondling me. And
 22      A. His rear view mirror, yeah, it would be          22   it was extremely rough. I think he was
 23   on the passenger side. Because I was so low he         23   frustrated because he couldn't find a destination
 24   couldn't really see me, but if I pop my head up,       24   for a moment, so it was extremely rough when he
 25   he could. So the mirror was mostly angled in my        25   put his hands down there. And I made an ouch
                                                   Page 39                                                    Page 41
  1   direction.                                              1   sound. Well, I said ouch. He hurry up and
  2      Q. Okay. Was that at the back seat then?             2   grabbed me and shove me -- pushed me in the back
  3      A. Yes.                                              3   seat because he thought that I was trying to gain
  4      Q. Okay. Could you have your cell phone              4   the attention of someone that was walking, I
  5   with you?                                               5   would say, maybe if we -- we were parked at that
  6      A. Oh, I'm sorry. No, I left that rule               6   wall, this person was up here where the screen
  7   off. I was not to have my cell phone with me at         7   is, so they really couldn't see because the trees
  8   all. And when he call, I need to step into              8   were falling, so they really couldn't see too
  9   another room or exit out of the house, I'm not          9   much of what was happening. I didn't actually
 10   allowed to talk to him in front of nobody.             10   see the man at all until he said something, but
 11      Q. Okay.                                            11   he thought I said ouch to gain the man's
 12      A. And to keep my words to a bare minimum.          12   attention, but I actually didn't see him.
 13   When he ask me questions, like, you know, where        13      Q. Okay. You just described the distance
 14   you at or whatever, you know, like, I'm supposed       14   in this room. Would that look about 15 to
 15   to keep it to a bare minimum.                          15   20 feet to you?
 16      Q. Okay. Could you have anything with you?          16      A. Probably so. I'm not good with the feet
 17      A. No. I couldn't bring my book bag,                17   measure, but...
 18   purse, cell phone, nothing.                            18      Q. I'm sorry?
 19      Q. Okay. So just you?                               19      A. I was saying probably so. I'm not good
 20      A. Yes.                                             20   with the measuring as far as the feet, but it
 21      Q. Okay. And when you met him at whatever           21   was -- it was -- it was close enough to where he
 22   location he specified, would you generally walk        22   could see, you know, the vehicle, maybe could
 23   there?                                                 23   hear things, but I don't think that he can
 24      A. Yes. I would, like -- if I got a ride,           24   physically see what was going on, the guy that
 25   I would get a ride close, you know, close to that      25   was going by minding his business.

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  1      Q. Okay. And he couldn't -- was the reason 1          piece of patience he had.
  2   he couldn't see because there were trees --        2        Q. Okay. And what did -- do you remember
  3      A. Yes.                                         3     anything he said then?
  4      Q. -- in the way?                               4        A. He said a lot of things. I can't
  5      A. Yes.                                         5     remember everything ver -- word verbatim, but a
  6      Q. Okay.                                        6     couple things that he said was, "This is my
  7      A. And he also had the passenger door open 7          pussy," and "Daddy's here." Don't fuck with him,
  8   as well, so, yeah, you couldn't see either way it  8     meaning, like, don't play no games or whatever.
  9   went. He made sure the passenger door was          9        Q. Okay. When you said ouch, was that
 10   open --                                           10     because his hand was hurting you?
 11      Q. Okay.                                       11        A. Yes, it was.
 12      A. -- because that's the side I would get      12        Q. Okay. And what happened after you said
 13   out of.                                           13     ouch?
 14      Q. Was that the front passenger --             14        A. He got angry and shoved me in the car
 15      A. Yes, the front.                             15     because he thought I was trying to catch the
 16      Q. -- door or the rear passenger door?         16     attention of someone.
 17      A. No, the front. Both of them would be        17        Q. When you were shoved in the car, do you
 18   open, but the front door was for blockage I       18     remember if you ended up sitting down or laying
 19   believe. And the back door was just open for me 19       down?
 20   getting out of it.                                20        A. I was -- I was, like, slightly, like,
 21      Q. Okay. So when he first touched you,         21     you know, maybe not all the way down flat, but
 22   were you standing outside the car facing him? 22         not sitting up completely. I was pushed, so I
 23      A. Yes, I was.                                 23     didn't lay in perfect --
 24      Q. Okay. And he was standing right in          24        Q. Okay. So leaning back, is that a
 25   front of you facing you?                          25     fair --
                                                Page 43                                                     Page 45
  1      A. He was kissing me.                             1      A. I was, like, leaning to the side. I was
  2      Q. Okay. And was your back facing the             2   trying to position myself to sit up.
  3   vehicle?                                             3      Q. Okay. And what happened next?
  4      A. My back was leaning up against the --          4      A. He reached in and, like, grabbed my
  5   the rear end of the car.                             5   neck. And --
  6      Q. Okay. And you said he was kissing you;         6      Q. With one hand or two hands?
  7   right?                                               7      A. One.
  8      A. Yes.                                           8      Q. And what happened next?
  9      Q. Okay. And at the same time he was              9      A. Once he grabbed my neck, he start
 10   kissing you, was that when he inserted his          10   putting a little pressure with it, and continued
 11   fingers?                                            11   to kind of ejaculate his -- I mean, not
 12      A. Yes.                                          12   ejaculate, but to fondle his self, play with his
 13      Q. And did he pull your shorts or pants          13   penis or whatever, trying to get it aroused.
 14   down to do that?                                    14   And --
 15      A. No. I had on jogging pants, and so he         15      Q. When did he take his penis out?
 16   just reached in there and began fondling me. I      16      A. Oh, when -- after he pushed me in the
 17   think he was trying to get his self aroused. And    17   back seat.
 18   he was growing frustration because he couldn't      18      Q. Okay.
 19   get his self aroused or whatnot. And also           19      A. Then he -- he pulled his pants down to,
 20   because my body didn't react to his sexual          20   like, mid-thigh level and I guess -- I don't
 21   pleasures. Meaning, like, a normal thing that a     21   know, I can't read his mind, but I'm assuming
 22   woman's body would do if they were to get           22   that that was too much for -- exposure for him,
 23   intimate with someone, my body did the total        23   because he pulled his pants up and then proceeded
 24   opposite. And that drew a lot of frustration        24   to pull his penis through the zipper part.
 25   with him. Like, he totally was losing every         25         And so he told me to touch it and rub it

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  1   or whatever. And I did. And he asked me what           1      A. And then he finally got his penis to
  2   the fuck -- "What the fuck were you shaking for,       2   rise and he, like, tried to hurry up and shove it
  3   it's just dick." And I didn't -- wasn't no             3   in me before it went back down. And I left out a
  4   answer to that, you know, I just kept trying to        4   part where he took his hand and spit on it and
  5   keep him from getting angrier.                         5   then, like, wiped it across my vaginal area,
  6       Q. Okay. How long was his hand on your             6   like, for moisture or whatever.
  7   neck?                                                  7      Q. When you say you were in a doggie
  8       A. Maybe about 15 seconds.                         8   position, does that mean, like, all fours?
  9       Q. Okay. Did he squeeze it or just put his         9      A. Yes. I was, like, on my knees and my
 10   hand on your neck?                                    10   hands were like this on the --
 11       A. He didn't initially squeeze it, he just        11      Q. Were you --
 12   had his hand around it, saying don't fuck with        12      A. -- seat.
 13   him. And then, yes, he did begin to apply a           13      Q. -- in the back seat then?
 14   little pressure, but not enough to cut off, like,     14      A. Uh-huh. And then he told me to scoot
 15   my breathing or anything. Like, it wasn't -- it       15   out some, and when I'd scoot out, basically my
 16   was more of a sexual thing for him, it -- more        16   hands and my arms is still leaned over on the
 17   than physical abuse or whatever. It was               17   seat, but my legs were standing on the ground
 18   something that he was trying to do to get his         18   next to the car, but I'm leaned in on the car and
 19   self going.                                           19   he's behind me.
 20       Q. Okay. So after he put your hand -- or          20      Q. What happened after he ejaculated?
 21   had your hand put on his penis, what happened         21      A. He made, like, a loud -- like, a loud
 22   after that?                                           22   sound. A relief. And he said things like,
 23       A. He told me just fucking stop, and he           23   "That's Daddy's bitch," "Be a good bitch and do
 24   told me to pull my pants down and lay back.           24   what I tell you to do." And as long as I do what
 25       Q. Okay. Did you do what he said?                 25   he want me to do, I don't have anything to worry
                                                  Page 47                                                   Page 49
  1      A. Yes.                                             1   about. And if I'm having trouble with that, he
  2      Q. Okay. And did you believe you had to             2   has something that'll clear my mind.
  3   comply with that?                                      3      Q. Did he say what that was?
  4      A. Yes.                                             4      A. He didn't say the actual name of it, but
  5      Q. And what happened next?                          5   he pointed to a bag that was a sandwich bag that
  6      A. He couldn't get his penis erection or            6   had drugs in it.
  7   whatever, so then he told me to bend over while        7      Q. Did he offer you drugs?
  8   he fondled, like, my back end. And then he got         8      A. Yes.
  9   an erection after that and he just, like, shoved       9      Q. Okay. Do you know what kind of drugs?
 10   his penis inside of me. And began raping me for       10      A. He first started asking did I smoke
 11   about maybe 45 seconds, less than a minute. And       11   marijuana; and I replied no. And he said I was
 12   then he ejaculated.                                   12   lying, and he was like, who don't fucking smoke
 13      Q. If I understood that right, you're              13   pot; and I'm like, I don't. And so he asked me
 14   saying that he entered you from behind?               14   did I drink; I told him no. And he said "Well,
 15      A. Yes.                                            15   what the fuck do you do to have fun." And I made
 16      Q. And were you laying across the back             16   a reply that I was in drill team, and he said,
 17   seat?                                                 17   "You popping that little pussy all around the
 18      A. No. At this time I was in -- my knees           18   gym."
 19   were, like -- so hard to explain. I was in,           19      Q. I'm sorry, you said drill team?
 20   like -- I hate to say it, but, like, a doggie         20      A. Yes.
 21   position.                                             21      Q. Do you remember anything else he said on
 22      Q. Okay.                                           22   that occasion?
 23      A. And that's when he was fondling my              23      A. Not that I can remember.
 24   buttocks area.                                        24      Q. Okay. After that was over did he drop
 25      Q. Okay.                                           25   you off somewhere or take you anywhere else?

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  1      A. He dropped me back off where he picked         1   be too open for him, so no.
  2   me up at. And --                                     2       Q. Okay. Would you sometimes see him
  3      Q. Was that at the auto place?                    3   around your school?
  4      A. Yeah, on 12th Street.                          4       A. All the time.
  5      Q. Okay.                                          5       Q. Okay. And please describe that, what
  6      A. Yes.                                           6   was he doing?
  7      Q. I think you said earlier you were 13;          7       A. He would always just be sitting there
  8   right?                                               8   parked when I come out the school, he was always
  9      A. Yes.                                           9   to the right of me. So when I come out of school
 10      Q. Okay. Let's just try and establish here       10   and I looked to my right, he'd be sitting there.
 11   a little time frame. Can you tell us what year      11   He never waved, he never did, you know, anything
 12   you were born?                                      12   to draw any attention to him, but he made sure
 13      A. 1994.                                         13   that I seen him, you know. And that was about
 14      Q. So this would have been around 1997           14   it.
 15   [sic]?                                              15       Q. Okay. About how many times did that
 16      A. Yes.                                          16   happen?
 17      Q. Okay. And did you continue to suffer          17       A. I don't have a number. Maybe more
 18   these -- these meetings with --                     18   than -- more than a dozen.
 19      A. For --                                        19       Q. Okay. So quite a few?
 20      Q. For how long? Tell us.                        20       A. Yeah.
 21      A. Approximately a duration of four years,       21       Q. Okay. How did he make sure you saw him?
 22   up until I was almost 18.                           22       A. Because he would always be parked, like,
 23      Q. Do you recall what school you were            23   it's, like, no way you could miss him when you
 24   attending at the time when this first started?      24   come out the school. You can't go straight, you
 25      A. I was attending       REDACTED          .     25   can only go left or right, and he would be
                                                Page 51                                                    Page 53
  1      Q. Okay. Did you --                               1   sitting right there at the end of the driveway on
  2      A. At first. And then --                          2   the right acting as if he's waiting on someone.
  3      Q. At first? Were there any other schools         3   And then the next thing you know, you know, he'll
  4   that you attended?                                   4   just pull off nonchalantly as if, you know.
  5      A. Yes. I attended, I think it's called           5      Q. Do you know what he was interested in
      REDACTED
  6           . They had changed the name, like, twice     6   finding out about you?
  7   so I'm not sure what it stuck with now, but I        7             MR. ROACH: Object to the form.
  8   think at that time it was called REDACTED--          8      Q. (BY MS. PILATE) Did he ever indicate to
  9      Q. Okay.                                          9   you what he was interested in finding out or say
 10      A. -- REDACTED .                                 10   anything that caused you to understand what he
 11      Q. Okay. Any other middle schools?               11   was looking for?
 12      A. No. I did go to another one, not during       12      A. He just said things along the nature,
 13   his -- you know, the timing with him, it was        13   "I'm making sure you're being a good bitch like
 14   before.                                             14   Daddy told you to be."
 15      Q. It was before?                                15      Q. What was a good bitch supposed to be?
 16      A. Yes.                                          16      A. I wasn't talking to any guys or anything
 17      Q. Okay. What school was that?                   17   of that nature.
 18      A. REDACTED                                      18      Q. Okay. I think you said earlier that he
 19      Q. Okay. Did he ever pick you up from            19   made you call him Papi?
 20   school?                                             20      A. Yes.
 21      A. No. He would be outside of my school,         21      Q. Do you remember what names he used for
 22   it was just to make sure, I guess, I'm doing what   22   you?
 23   I'm supposed to be doing, or going where I'm        23      A. Called me every name in the book. I was
 24   supposed to be going, but no, I never physically    24   bitch; I was a whore; I was a slut; I was a cum
 25   got in the car with him from school. That would     25   dumpster. That was his favorite word, cum

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                                                 Page 54                                                      Page 56
  1   dumpster. So he never called me by name.              1   he backed up. It wasn't a train coming or
  2      Q. Okay. Did he make any further                   2   anything, I think he realized he had went too far
  3   references to your grandmother or your family         3   down. And so he backed up and then made a left
  4   members?                                              4   turn. And it was, like, no street lights, like,
  5      A. When?                                           5   extremely dark, and so he just, like, pulled to,
  6      Q. On any of these visits.                         6   I don't know if it was a resting area or what,
  7      A. Every visit.                                    7   but he pulled over there and turned his lights
  8      Q. Okay. I think you said this continued           8   off.
  9   over a period of four years?                          9      Q. Okay. Was this an isolated area?
 10      A. Yes.                                           10      A. I mean, maybe with trees.
 11      Q. Okay. Do you have an estimate of how           11      Q. Okay. That's what I mean.
 12   many times you had these meetings with Golubski?     12      A. Oh.
 13      A. Over a dozen.                                  13      Q. Were there any businesses or homes
 14      Q. Could it be more than two dozen?               14   right --
 15      A. Yes.                                           15      A. Yeah, no. I was --
 16      Q. Okay. Do you recall some of the places         16      Q. -- in the immediate vicinity?
 17   that you were?                                       17      A. I'm sorry. No, I didn't see any.
 18      A. Yes.                                           18      Q. Okay. Was it mostly trees?
 19      Q. Okay. Let's look at some of them.              19      A. Yes.
 20           MS. PILATE: Let's do B.                      20      Q. Okay. Did it look like the photo that
 21           MS. RUNNELS: B?                              21   we've put up on the screen with the foliage?
 22           MS. PILATE: Yeah.                            22      A. Yes.
 23      Q. (BY MS. PILATE) Is the area of 55th and        23      Q. Okay. And he pulled off into a little
 24   Leavenworth Road familiar to you?                    24   area off of 55th, is that what you're saying?
 25      A. Yes.                                           25      A. Yes.
                                                 Page 55                                                      Page 57
  1      Q. Okay. These are some photos of that             1      Q. Okay. And do you recall what happened
  2   area we have put up on the screen and we are          2   at that point?
  3   marking this as Plaintiff's Exhibit 12.               3      A. He told me to get up. And I got up and
  4             (REDACTEDExhibit 12 was marked for          4   he switched his position to the passenger side
  5   identification.)                                      5   and he told me to get on top of him.
  6             MR. ROACH: What's the internal              6      Q. Okay. When you say the passenger side,
  7   number?                                               7   do you mean the front seat or the back seat?
  8             MS. PILATE: B.                              8      A. The -- I'm sorry, the back seat where I
  9      Q. (BY MS. PILATE) Right now we are                9   was sitting. He told me to get up. Once I got
 10   looking at an area of 55th Street where there's a    10   up, he sat on the seat, not the floor, but the
 11   lot of trees and foliage on both sides of the        11   seat, and he told me to sit on top of him.
 12   road. Is that area familiar to you?                  12      Q. Okay. So was he seated facing forward
 13      A. Yes.                                           13   with his feet on the floor?
 14      Q. Okay. Can you tell us if Golubski took         14      A. Yes. He was looking at the back of the
 15   you to that area?                                    15   seat, of the headrest, like, the back of the
 16      A. Yes, he did.                                   16   passenger seat. And I would be facing the back
 17      Q. Okay. Can you describe -- well, let me         17   windshield.
 18   ask you this: Did he take you to that area once      18      Q. Okay. Was that a type of straddle
 19   or more than once?                                   19   position he wanted you to assume?
 20      A. I think twice.                                 20      A. Yeah. It was, like, he wanted me to be
 21      Q. Okay. Can you describe where he took           21   on top or whatnot.
 22   you in that area?                                    22      Q. Okay. And did you comply with what he
 23      A. We went down a long road that seemed           23   said?
 24   never ending. And then he got, like, to some         24      A. Yes.
 25   railroad tracks and he said, oh, shit. And then      25      Q. And why did you comply?
                                                                                               15 (Pages 54 - 57)
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                                                   Page 58                                                    Page 60
  1      A. Because I didn't want to die.                     1   said, He never had you do this," and I said no.
  2      Q. Are you okay to continue?                         2   And he said "un-fucking-believable."
  3      A. Yeah, I'm fine.                                   3          And so at that time he climbed out the
  4      Q. What happened next?                               4   back seat and he -- I take it he didn't think
  5      A. Once again, he was having trouble                 5   that I was really putting my all into it because
  6   getting his self aroused, so he asked me to put         6   he continuously made comments stating, "You know
  7   my mouth on his penis. He asked me had I ever           7   what the fuck you're doing" and "Don't fuck with
  8   done that before, and I told him no. And he told        8   me" was, of course, his number one word. "Don't
  9   me that I was lying, quit shitting him. And I           9   try to play innocent like you don't know how to
 10   assured him that I hadn't and I didn't know what       10   do it." And he just went on about it, you know.
 11   I was doing. So he told me what -- he directed         11          And I asked if he wanted me to try
 12   me on what to do.                                      12   again, and he said fuck no, he don't have time
 13         And I followed those directions, which           13   for my bullshit today. And after that he just
 14   was to open my mouth. He told me to gather as          14   had me ejac -- I mean, play with his penis until
 15   much spit as I can in my mouth and when he             15   he ejaculated. And he wanted to ejaculate on my
 16   inserts his penis in my mouth, I'm to release all      16   face.
 17   the saliva on his penis. And I tried to do that,       17      Q. Did he do that?
 18   and I guess, like, my teeth scraped him and he         18      A. Yes.
 19   hit me upside my head, like, three times because       19      Q. During the time period of these meetings
 20   my teeth hurt him. And I didn't do it on               20   with Golubski, in addition to the sexual
 21   purpose.                                               21   assaults, did he physically assault you?
 22      Q. Can you describe where on your head he           22      A. Yes.
 23   hit you, was it --                                     23            MR. ROACH: Object to the form.
 24      A. On the side of my head.                          24      Q. (BY MS. PILATE) I want to just be clear
 25      Q. Okay. Like, near your ear?                       25   with the question. I'm not -- putting aside the
                                                   Page 59                                                    Page 61
  1      A. Yeah. Excuse me. Can I get a Kleenex?             1   sexual --
  2   Oh, never mind, I'm sorry. I brought one. Sorry         2      A. Yeah.
  3   about that. Excuse me.                                  3      Q. -- for a moment.
  4            THE WITNESS: Thank you.                        4      A. Yeah.
  5      Q. (BY MS. PILATE) Did he hit you with an            5      Q. Let's talk about the physical.
  6   open hand or with his fist?                             6      A. Yeah.
  7      A. Open hand. Well, I -- honestly, I                 7      Q. Did he ever -- other than the occasion
  8   didn't see the hand. From what it felt like, it         8   you're talking about right now, did he beat you,
  9   was an open hand. It was like a slap upside the         9   slap you, punch you, hit you?
 10   head, like, three, maybe four times.                   10      A. Yes.
 11      Q. Okay. Was this when your face was in             11      Q. Okay. Could you explain when that would
 12   his --                                                 12   happen.
 13      A. Yes.                                             13      A. When I would take too long getting out
 14      Q. -- lap? What happened after that?                14   the car, he'll reach back and, like, punch me
 15      A. I tried to do it better and it wasn't            15   upside the head or something. He'd slap me a
 16   working for him, he was getting upset and              16   couple times. I mean, I don't really know how to
 17   frustrated and very agitated with me. He just --       17   put it in format, like, just whenever he felt
 18   he just belittled me, you know, like, "You got to      18   like it, you know. At his convenience.
 19   be fucking kidding me," and I thought you said --      19      Q. Okay.
 20   "I thought you said you fucked your foster dad."       20      A. So even when things were not going right
 21   And I was like, I didn't have sex with him. And        21   outside of me, usually I would feel the
 22   then he popped me in my mouth and told me stop         22   repercussions of it.
 23   back talking. And he said again, "Didn't you say       23      Q. Okay. So that would occur at times when
 24   that you fucked your foster dad." And so I just        24   his emotions --
 25   agreed with him, just to compromise. And he            25      A. Yeah, was -- were at all-time high, when

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  1   he was upset about something, whether it was to        1      Q. -- is it familiar as a result of your
  2   do with me or not. It was just -- I mean, I'm          2   experience with him?
  3   not going to just say he just reached back and         3      A. Yes.
  4   just punched me. Like, it was something, you           4      Q. Okay. Is it around 38th and State?
  5   know, triggering it and no, it was not me, you         5      A. It's 34th and State.
  6   know, so -- but whatever it is, you know, he felt      6      Q. You think 34th and State?
  7   very comfortable putting his hands on me, but he       7      A. Yeah.
  8   would be careful about where, you know.                8      Q. Okay. And how many times were you taken
  9         He initially never put his hands on my           9   to this area?
 10   face, like, either my head because, you know, you     10      A. Twice.
 11   can't see a bruise on the head. That's what I'm       11      Q. Okay. What happened when you were taken
 12   putting it in my head, that, you know, he's           12   to this area?
 13   making sure he's trying to hit me in places           13      A. The regular sexual encounters that
 14   where, you know, I can't see what damages or, you     14   happened every time that I -- well, nearly, at
 15   know, bruise or whatever the case might be. So        15   least 95 percent of the time that I was with him,
 16   mostly, you know, it was, like, little slaps          16   it was always, like, me leaning over into the car
 17   upside the head or stuff like that.                   17   in the back seat, and him having sex with me from
 18      Q. Was there a time that he took you to an         18   behind. Or he struggled with being on top of me,
 19   area where there was some fast food restaurants?      19   just wasn't enough room. And he was always
 20      A. Yes.                                            20   greatly frustrated behind that, as if I was the
 21            MS. PILATE: Let's do C.                      21   problem.
 22      Q. (BY MS. PILATE) We're going to mark the         22      Q. Okay. You say he struggled with being
 23   next exhibit, which is C in our notebook, but for     23   on top, are you talking about face-to-face --
 24   purposes of the deposition will be marked as 13.      24      A. Yes.
 25            (REDACTEDExhibit 13 was marked for           25      Q. -- with him on top?
                                                  Page 63                                                    Page 65
  1   identification.)                                 1            A. Yes.
  2             MS. PILATE: Is there anything else     2            Q. So that didn't really work out?
  3   in that one?                                     3            A. No.
  4             MS. RUNNELS: No.                       4            Q. So explain how he would enter you from
  5             MS. PILATE: Okay. Go down to the       5         behind, what positions were both of you in?
  6   house again.                                     6            A. He was just in the standing position
  7      Q. (BY MS. PILATE) Do you recognize the 7               behind me and I was leaned over in the car.
  8   house that appears in Exhibit 13?                8            Q. Okay. So would your feet be on the
  9      A. Yes.                                       9         ground?
 10      Q. Okay.                                     10            A. Yes.
 11             MS. PILATE: Lindsay, page back        11            Q. And would your upper torso be leaning
 12   through that.                                   12         into the car?
 13      Q. (BY MS. PILATE) Does seeing those         13            A. Yes.
 14   satellite shots in this exhibit help you locate 14            Q. Would you be leaning into the back seat?
 15   where this house is?                            15            A. Yes.
 16      A. Yes.                                      16            Q. Okay. And he would be behind you?
 17      Q. Okay. You recognize this area?            17            A. Yes.
 18      A. Yes.                                      18            Q. Okay. So if someone was in the area,
 19      Q. Okay.                                     19         what would they see?
 20             MS. PILATE: Return to the house.      20            A. In this particular area, I'm not -- I'm
 21      Q. (BY MS. PILATE) Is this area one that's 21           not sure because it's a little hill and then it's
 22   familiar to you?                                22         a fence. Well, it was a fence around it. But if
 23      A. You said before him?                      23         someone was to pull in the driveway, they would
 24      Q. No. With him. I mean --                   24         see him standing there with his pants to his
 25      A. Oh.                                       25         knees.
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  1      Q. Okay.                                           1   was, like, getting close to dark. And the second
  2      A. Sometimes. Or sometimes just, he would          2   time it -- it wasn't late, but it was -- it was
  3   pull his penis out through his zipper.                3   dark. But it wasn't, like, late at -- like, I
  4      Q. Okay. So that was something he did in           4   think it was -- and this is a rough estimate,
  5   the City of Kansas City, Kansas?                      5   like, maybe around 7:00-ish or something in the
  6      A. Yes.                                            6   evening. So it was dark, but the first time it
  7      Q. Okay. And he would take his penis out;          7   was getting dark. And he kind of bull-crapped
  8   is that right?                                        8   around like he was waiting for it to get dark.
  9      A. Yes.                                            9   But that's what I took of it.
 10      Q. And he would drop his pants?                   10      Q. Okay. Do you remember anything in
 11      A. Sometimes he would take it out through         11   particular he said on these visits to this
 12   his zipper, sometimes he would pull his pants        12   location?
 13   down.                                                13      A. I can't think about it right now.
 14      Q. Okay. Was there an area behind this            14      Q. Okay. So what you remember is going up
 15   house that was kind of secluded?                     15   the driveway and there's kind of an area behind
 16      A. Yes.                                           16   there?
 17      Q. Okay. Was it next to anything, in terms        17      A. Yeah. It was, like, a little shed
 18   of --                                                18   behind there.
 19      A. It was next to a Burger King. I                19      Q. Okay. Did he ever take you across the
 20   remember hearing the Burger King worker drag the     20   state line into Missouri?
 21   trash barrel back to the dumpster, and -- the        21      A. Yes.
 22   second time I was there, that's when I heard it.     22      Q. Do you remember approximately when that
 23   And I made a loud noise as if I was -- not loud,     23   occurred?
 24   but I made a noise as if I was clearing my           24      A. I --
 25   throat, but I hit the wooden fence, you know, to     25      Q. It's probably -- it was just somewhere
                                                 Page 67                                                    Page 69
  1   try to get attention or hoping that, you know,        1   in the middle of this four-year --
  2   someone would get curious as to what the noise        2      A. Yeah.
  3   was or something, but nothing ever -- nothing         3      Q. Okay.
  4   ever happened from it, so...                          4      A. Yeah. Because I've told you about at
  5       Q. Okay.                                          5   least the first three or four encounters, so
  6       A. And it was too risky, you know, making         6   anything after that was -- to me, probably after
  7   too much noise, so it was just, like, a simple        7   the sixth or seventh it kind of was, like,
  8   little (descriptive sound). And you know, I           8   middle -- a middle. I would call it a middle
  9   coughed with it to, you know, play it off, but no     9   encounter.
 10   one ever came.                                       10            MS. PILATE: Okay. Let's do G.
 11       Q. Okay. Did Golubski say anything when          11      A. When it was, like, towards the age of 15
 12   you hit the fence?                                   12   or whatever, maybe.
 13       A. He asked me, "What the fuck was that."        13      Q. (BY MS. PILATE) Okay. We are going to
 14       Q. What did you say?                             14   what we internally marked as Exhibit G, but in
 15       A. I said I tripped. I was trying to get         15   this deposition will be Plaintiff's 14.
 16   in the car and I tripped.                            16            (REDACTEDExhibit 14 was marked for
 17       Q. Okay. Was not making noise that would         17   identification.)
 18   draw attention to yourself one of the rules?         18      Q. Do you recognize the buildings that
 19       A. Yes.                                          19   appear in this exhibit?
 20       Q. When you were with him at this location,      20      A. Yes.
 21   was it daytime or at night?                          21      Q. And how do you know these buildings?
 22       A. Nighttime. Well, evening.                     22      A. Because he went to that location before.
 23       Q. Okay. So it was somewhat light and            23      Q. Okay. Is this a location in Kansas
 24   somewhat dark?                                       24   City, Missouri?
 25       A. No. For the first time I would say it         25      A. Yes, on Independence Avenue.

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  1      Q. Okay. And do you remember how many                1   smell, you would have to smell it to know. I
  2   times he took you there?                                2   don't know how to describe it in words.
  3      A. Maybe about -- about -- maybe about four          3      Q. That's okay, you're fine. So he had
  4   or five times.                                          4   marijuana, crack, pills of some kind, and brown
  5      Q. Okay. And what happened when he would             5   cigarettes with a small -- strong smell?
  6   take you to that location?                              6      A. Yeah. Yes. And then sometimes he would
  7      A. I believe that he was making drug deals           7   pull out this bottle thing. It's, like, a brown
  8   at that location. From what I could see, that's         8   bottle. It looked like -- like a -- something
  9   what he was doing.                                      9   you use for cooking. I can't think of the word
 10      Q. Okay. What did you observe?                      10   I'm trying to say. Like a vanilla as -- extract
 11      A. I observed him having -- pulling some            11   bottle type of thing. That's all I ever saw.
 12   bags out of a McDonald's bag.                          12      Q. Okay. What locations in the vehicle did
 13      Q. Pulling what?                                    13   he keep drugs in?
 14      A. Pulling clear bag -- like, a sandwich            14      A. The glove compartment, the middle part,
 15   bag out of a McDonald's bag that was on the            15   and the trunk.
 16   passenger seat rolled up.                              16      Q. Okay. And was this vehicle the vehicle
 17      Q. Okay.                                            17   he used for police business?
 18      A. He pulled the drugs out or whatever and          18      A. Yes.
 19   he got out and kind of walked off to the right         19      Q. Do you know how he stored it in the
 20   side of the building to where, basically where I       20   glove compartment?
 21   was, I would have to sit all the way up to look        21      A. It would be inside of a McDonald's bag.
 22   and see, you know, what he's doing. And so I can       22      Q. Okay. Did he have a number of
 23   only get a quick glance. I didn't, you know, I         23   McDonald's bags?
 24   couldn't just look at it, you know, stare and try      24      A. Huh-uh. No.
 25   to figure things out. I was just trying to get a       25      Q. How many?
                                                   Page 71                                                   Page 73
  1   little glance to see where I am.                        1      A. Just the -- I don't -- I'm not sure.
  2       Q. Let's take a step back and just focus on         2   The only thing that I seen was one. But I'm sure
  3   the drugs here for a second. Did you know him to        3   that's not the same bag every time, so...
  4   carry drugs in his vehicle?                             4      Q. Okay. So you saw a McDonald's bag in
  5       A. Yes.                                             5   the glove compartment?
  6       Q. Okay. And could you identify the kind            6      A. No, I didn't see it in the glove
  7   of drugs that he had?                                   7   compartment. I saw it on the passenger seat and
  8       A. Yes.                                             8   in the middle part; I also saw him take it out
  9       Q. Okay. And what were they?                        9   the trunk out of a black bag.
 10       A. He had marijuana, he had crack, and he          10      Q. Okay. Let's break that down a little
 11   had some type of pills that were -- I don't know       11   bit. Was the McDonald's bag used just for drugs
 12   what kind they were, but they were, like,              12   or were other things put in it sometimes?
 13   colorful, different colors. And then he would          13      A. Money was put in there sometimes.
 14   have brown cigarettes, and that's it.                  14      Q. Okay. Where was the McDonald's bag
 15       Q. Did you know what those brown cigarettes        15   usually stored in the vehicle?
 16   were?                                                  16      A. Like, the middle. It would, like, be
 17       A. Cigarettes. Yeah, cigarettes.                   17   folded all the way down, and then it would be,
 18       Q. Okay. Did they have any particular              18   like, in the middle part. I don't know if you
 19   smell or appearance to them?                           19   say, like, between the seat or something like
 20       A. Yeah. I can't describe the smell. It            20   that. Other than that --
 21   was just, like, really, really strong, like, I         21      Q. Was it in the front seat?
 22   don't know. I want to reference to, like,              22      A. Yeah, in -- I'm sorry. In the front
 23   gasoline, but I'm not -- I'm not saying it was,        23   passenger seat.
 24   like, gasoline on them or nothing, but they -- I       24      Q. Okay. And were there sometimes baggies
 25   don't know -- I don't know, but it's a distinct        25   in the McDonald's bag?
                                                                                               19 (Pages 70 - 73)
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                                                 Page 74                                                    Page 76
  1      A. Always.                                         1      Q. Okay. And when would you see it in your
  2      Q. Okay. And do you know what was in the           2   time with him?
  3   baggies?                                              3      A. Whenever he would meet up with someone.
  4      A. Yes. Crack cocaine, and just all the            4      Q. Okay. And who was he meeting up with?
  5   drugs I just named. The pills, the marijuana,         5      A. Other police officers.
  6   the crack cocaine.                                    6      Q. Okay. And what did he do with the black
  7      Q. Did he sometimes have that McDonald's           7   duffle bag?
  8   bag in his -- in the glove compartment?               8      A. He would pull whatever he need to pull
  9      A. Yes.                                            9   out of there, sometimes it would be the
 10      Q. Okay. And when he had it in the glove          10   McDonald's bag, or sometimes he'll hand them the
 11   compartment, did he use it to store drugs in         11   whole bag.
 12   there?                                               12      Q. Okay. Did you ever see him pull drugs
 13      A. Yes.                                           13   out of that bag?
 14      Q. Okay. And did you see that?                    14      A. The black bag?
 15      A. No. I saw the McDonald's bag, but I            15      Q. Uh-huh.
 16   didn't see him put the drugs in there, they were     16      A. Yes.
 17   already in there.                                    17      Q. Okay. And did you ever see the drugs in
 18      Q. Okay. Did you ever see him take drugs          18   baggies or were they in the McDonald's bag?
 19   out of the --                                        19      A. They were both. Normally whenever --
 20      A. Yes.                                           20   whenever they were in the front seat, it's
 21      Q. -- McDonald's bag?                             21   because he was, like, heading to a destination.
 22      A. Yes.                                           22   But him going in the trunk to the black bag was
 23      Q. Okay. And were those drugs in baggies?         23   only when he was meeting up with fellow officers
 24      A. Yes.                                           24   or whatever mostly.
 25      Q. Okay. And what kind of drugs did you           25      Q. Okay. What causes you to say that the
                                                 Page 75                                                    Page 77
  1   see him take out of the bag?                          1   people he met with were fellow officers?
  2       A. Mostly the crack cocaine and the brown         2      A. Because I saw them.
  3   cigarettes.                                           3      Q. Okay. What said they were officers, did
  4       Q. Okay. I think you mentioned the trunk          4   they have badges or --
  5   of the vehicle. Was there something he kept in        5      A. Yeah.
  6   the trunk?                                            6      Q. Did they wear uniforms?
  7       A. A black hand-held gym bag.                     7      A. Yes. They were uniform cops, they were
  8       Q. Okay. Was that, like, a duffle bag?            8   cop cars.
  9       A. Yes. But it was a smaller one, it              9      Q. Okay. And was he handing things to them
 10   wasn't very big.                                     10   or receiving things?
 11       Q. It wasn't big. How -- about how big was       11      A. Both. They were -- they would -- not
 12   it, could you --                                     12   every time, but sometimes he would pass them the
 13       A. Maybe about this big.                         13   McDonald's bag and at that time it would be money
 14       Q. Okay. It looks like you're holding your       14   in there. And he would give the bag to the
 15   hands 18 to 20 inches apart, the best I can tell.    15   officer, and the officer would, like, give him
 16   Does that sound about right?                         16   the little black gym bag, he will look inside and
 17       A. Yeah. Like, maybe a little smaller than       17   throw it inside his trunk.
 18   the width of this table.                             18      Q. Okay. So was the black gym bag
 19       Q. Okay.                                         19   something that went back and forth between --
 20       A. Yeah, like, here to here.                     20      A. Uh-huh.
 21       Q. Okay. And did it have handles?                21      Q. -- him and the officers?
 22       A. Yes, it did have two handles.                 22      A. Yeah, because, like, sometimes it wasn't
 23       Q. Okay. How many times did you see this         23   in his possession. Like, sometimes when he met
 24   black duffle bag?                                    24   up with the other officer, he would give him the
 25       A. Quite a bit.                                  25   bag. But I never knew when it was in the trunk

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                                                   Page 78                                                   Page 80
  1   or not, unless he pulled up to another officer or       1   vehicle?
  2   whatever the case might be.                             2      A. Not long. Maybe 15 seconds. 15,
  3      Q. Okay. I think you said that on occasion           3   20 seconds. Like, just enough to go on the side
  4   that money was in the McDonald's bag?                   4   of the vehicle or whatever.
  5      A. Yes.                                              5      Q. Okay. Did Golubski know you could see
  6      Q. Okay. What caused you to conclude that?           6   him?
  7      A. Excuse me. I seen it at one point. And            7      A. No.
  8   then another time when he got out and he dropped        8      Q. Was there a rule about what you could
  9   the bag, you can just, you know, tell by the form       9   look at?
 10   of the bag that it was money in there. And then,       10      A. I was not to look up at all.
 11   like, the way it fell so lightly that, you know,       11      Q. Did you break that rule?
 12   wasn't nothing in there. It was -- like,               12      A. Yes.
 13   sometimes he would recount the money just to make      13      Q. Okay. Could you explain how you did
 14   sure, and put it back in the bag.                      14   that?
 15      Q. Okay. So let's return to Chouteau                15      A. I start a seven second count from the
 16   Court. When he took you there, was that for the        16   time he got out the car. I knew I had second --
 17   purpose of sex or was it just for the purpose of       17   seven seconds because that's how long -- I would
 18   doing something with drugs?                            18   calculate how long it'd take him to get out
 19      A. Doing something with drugs. He tried             19   before he would be able to get out and turn
 20   one time there.                                        20   around and look at me. So I just --
 21      Q. Okay.                                            21      Q. After he got out of the vehicle, would
 22      A. And he didn't try -- I mean, I think he          22   he look back at the vehicle?
 23   thinks someone saw him or something of that            23      A. Every time. To make sure that I was
 24   nature because he, like, got out of there quick.       24   down low enough.
 25      Q. Okay. When he went to Chouteau Court,            25      Q. Okay. And what you're saying is you had
                                                   Page 79                                                   Page 81
  1   did he seem to be going to the same apartment or        1   calculated the amount of time you would have
  2   area every time?                                        2   before he did that?
  3      A. Yes.                                              3      A. Yes.
  4      Q. Okay. Did you ever see anyone he was              4      Q. Okay. And then when he continued on,
  5   meeting?                                                5   did you pop your head up to see what he was
  6      A. I saw a man, a dark-skinned man with              6   doing?
  7   braids to the back. I can't -- I mean, no, I            7      A. Sometimes. If I know which direction he
  8   don't --                                                8   was in, yeah. But if I didn't know which
  9      Q. Did he hand something to the man or did           9   direction, no, because he could be right --
 10   the man hand something to him?                         10      Q. Right there.
 11      A. They exchanged something as if it was a          11      A. -- there.
 12   handshake.                                             12      Q. But when you were at this apartment
 13      Q. Okay. When he -- when Golubski got out           13   complex, did those visits include occasions when
 14   of the car, did he appear to have drugs with him?      14   you popped your head up and could see what he was
 15      A. Yes. He would grab whatever he needed            15   doing?
 16   to grab, sometimes it would be inside of the bag       16      A. Yes. Every occasion I pop my head up.
 17   or the bag would be in the glove compartment, but      17      Q. Okay. So you found a moment or two or
 18   he would grab what he needed to grab and then          18   three to pop your head up and see what was going
 19   proceed on to do whatever it is that he needed to      19   on?
 20   do.                                                    20      A. Absolutely.
 21      Q. Okay. And when you saw him meet with             21      Q. Okay. I think you -- correct me if I'm
 22   this dark-skinned person, they appeared to do a        22   wrong. I think you said you were there three or
 23   hand-to-hand exchange?                                 23   four times, is that what you said?
 24      A. Yes.                                             24      A. Yeah. It was a place that he went to
 25      Q. And how long was Golubski out of the             25   quite a few times, so...

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                                                   Page 82                                                  Page 84
  1      Q. Okay. And I think you said he tried to            1   the record at 1:52 p.m.
  2   have --                                                 2            MS. PILATE: Okay. Just a bit of
  3      A. One time.                                         3   housekeeping before we get going. We've been
  4      Q. Okay. And what happened on that                   4   putting exhibits up on the screen, we do have
  5   occasion?                                               5   hard copies available. Is everyone okay with
  6      A. Some lady's baby was crying or something          6   exhibits on the screen? Morgan's got a set. Is
  7   like that and it scared him, and then he just           7   that cool with everyone?
  8   hurry up and hopped in the car and drove off real       8            MS. EVERS GUERRA: That's fine.
  9   fast or whatever.                                       9            MR. HOFFMAN: Yes.
 10      Q. Okay. Was the baby in one of the                 10            MS. PILATE: And we'll transmit
 11   apartments --                                          11   them to the court reporter so that copies can be
 12      A. No. The baby was walking on the                  12   included, you know, with the transcript. So if
 13   sidewalk, like, it had maybe -- baby looked like       13   anyone has anything else to suggest or say about
 14   it may have been, like, three. Two or                  14   that, speak now. We're all cool? Okay. Let's
 15   three years old.                                       15   go.
 16      Q. Okay. So when you say a baby, you                16      Q. (BY MS. PILATE) You ready --
 17   really mean --                                         17      A. Yes.
 18      A. Yeah, it was an actual baby, like --             18      Q. -- REDACTEDYeah. I'd like to return
 19      Q. Toddler --                                       19   back to some of those times in the car. You
 20      A. Yeah. Crying.                                    20   mentioned earlier being scared. Was there a
 21      Q. -- no one was watching.                          21   particular location that he would take you to
 22      A. Yeah.                                            22   that you found particularly frightening?
 23      Q. Okay. So there was a crying small child          23      A. Yes.
 24   and that scared him off?                               24      Q. And what was that?
 25      A. Yeah. Because it was followed by, I              25      A. The river.
                                                   Page 83                                                  Page 85
  1   guess -- I don't know, maybe kinfolks or                1      Q. Tell us what you mean by the river. Was
  2   whatever, but it was followed by people. And            2   there a specific area that you recall, was it --
  3   they were calling.                                      3   there are a lot of parts of the river.
  4      Q. So he felt people were coming to that             4      A. Well, it was, like, we got there from,
  5   area?                                                   5   like, Third Street.
  6      A. You --                                            6      Q. Okay.
  7            MR. ROACH: Object to the form.                 7      A. So it was, like, kind of right past, I
  8      A. You could see people coming.                      8   guess, First Street or something.
  9      Q. (BY MS. PILATE) And so at that point              9      Q. So would it be when you drive south on
 10   you left?                                              10   Third Street and hit the river?
 11      A. Yes.                                             11      A. Yes. Yes.
 12            MS. PILATE: Is this a good time to            12      Q. Okay.
 13   take a lunch break, Mike?                              13      A. And well, just not that way, we would go
 14            MR. ABRAMS: It won't be here until            14   from other ways too.
 15   1:00, but -- you got a few minutes, but whenever.      15      Q. Okay.
 16   That's fine.                                           16             MR. ROACH: Cheryl?
 17            MS. PILATE: I think we're at a                17             MS. PILATE: Yeah.
 18   good breaking point.                                   18             MR. ROACH: Ma'am, could you put
 19            MR. ABRAMS: That's good.                      19   your hands down.
 20            MS. PILATE: I think we're going to            20             THE WITNESS: I'm sorry.
 21   take a break now to about 1:30, 1:30 --                21             MR. ROACH: Thank you.
 22            THE VIDEOGRAPHER: We're going off             22             THE WITNESS: Sorry about that.
 23   the record at 12:56 p.m.                               23             MS. PILATE: Let's do just a
 24            (Short break was taken.)                      24   satellite of that. Which one is --
 25            THE VIDEOGRAPHER: We're back on               25             MS. RUNNELS: It's going to be 15.
                                                                                              22 (Pages 82 - 85)
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                                                 Page 86                                                     Page 88
  1            MS. PILATE: Okay. Hang on a                  1   particular, so that's why I was asking for a
  2   minute, I'm worthless without my glasses. Okay.       2   different angle. I mean, I can clearly see
  3   We are going to internally marked Exhibit T, or       3   that's the area, but that wasn't the particular
  4   lettered Exhibit T in the notebook, and we're         4   location we was in.
  5   turning that into --                                  5      Q. Okay. I'm glad you asked.
  6            MS. RUNNELS: 15.                             6      A. Yes.
  7            MS. PILATE: -- Plaintiff's                   7            MS. PILATE: Let's do a satellite,
  8   Exhibit 15. And we're just --                         8   yeah. Here. Okay. I -- isn't that the same
  9            (REDACTEDExhibit 15 was marked for           9   that we have? Yeah, let's -- let's do that.
 10   identification.)                                     10   Because it's better. Little better marked.
 11      Q. (BY MS. PILATE) Okay. Can you see up           11      Q. (BY MS. PILATE) Okay. Do you see that
 12   on the screen?                                       12   gray rectangle that's in that -- kind of right in
 13      A. Yes.                                           13   the center of the frame there, do you see that?
 14      Q. Okay. Is that the geographic area that         14      A. No, I don't. I --
 15   you're talking about?                                15      Q. Can --
 16      A. Yes.                                           16      A. What is it?
 17      Q. Okay. We have some closer-up                   17            MS. PILATE: Yeah, Lindsay, put the
 18   pictures --                                          18   cursor on it.
 19      A. I'm sorry, can we get a different angle,       19      Q. (BY MS. PILATE) Right there. Do you
 20   please.                                              20   see that?
 21      Q. Yeah. Yeah. What about that angle is           21      A. Oh, yes.
 22   confusing or doesn't work for you?                   22      Q. That's the UPS center.
 23      A. I'm just trying to locate where on the         23      A. Oh, okay. Yeah. So yeah.
 24   river that we would go to.                           24      Q. Does that help orient you?
 25      Q. Okay. Do you recognize James Street            25      A. Absolutely.
                                                 Page 87                                                     Page 89
  1   there?                                                1       Q. Okay. Now, can you say relative to the
  2      A. Yes.                                            2   UPS center where you were? Was it closer to the
  3      Q. Okay.                                           3   river?
  4      A. We would also come that way from,               4       A. We wasn't -- we actually passed the UPS.
  5   like -- we would pass, like, a Wendy's.               5       Q. Okay.
  6      Q. Okay.                                           6       A. And then the -- you make, like, a right
  7      A. A gas station, and then go over a               7   or something like that. Okay. So UPS. We
  8   bridge. And we would pass U -- UPS, and I think       8   passed UPS, and go to the right, it takes us to
  9   that's James Street.                                  9   Third Street, and from Third Street it's, like, a
 10      Q. Okay. Okay, we know what it is.                10   little road and you can swing off to and get
 11            MS. PILATE: Lindsay, why don't you          11   straight to the river. Or you can go all the way
 12   get on Google Map.                                   12   down Third Street 'til you get to Third and
 13            MS. RUNNELS: Okay.                          13   Quindaro, and make a right there and cross over
 14            MS. PILATE: I think I know exactly          14   the railroad tracks and be down at the river.
 15   where.                                               15       Q. Well, Third -- Third Street is on the
 16      Q. (BY MS. PILATE) James Street is on the         16   other side of the bridge there. So if you're
 17   other -- or I'm sorry. UPS is on the other side      17   crossing on James Street, you're going from more
 18   of the James Street Bridge; right? Is that what      18   the Missouri side over to the Kansas side. Does
 19   you're talking about?                                19   that make sense?
 20      A. Yes.                                           20       A. Yeah.
 21      Q. Okay.                                          21       Q. So which side do you think you were on?
 22            MS. PILATE: You know where --               22       A. I was on the Kansas side.
 23      Q. (BY MS. PILATE) Okay. Lindsay will             23       Q. Okay.
 24   find it.                                             24             MS. PILATE: Lindsay, let's zoom in
 25      A. I'm not very familiar with that area in        25   on that move -- are you on Google Map?

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                                                  Page 90                                                   Page 92
  1            MS. RUNNELS: Yeah. Look at this               1   from other angles as well.
  2   right here. Cheryl, look at those in the folder        2       Q. Okay. Your memory is very good, thank
  3   and see what you want.                                 3   you.
  4      Q. (BY MS. PILATE) Were there train tracks          4       A. Yeah.
  5   in the area --                                         5       Q. I think the area that you're describing,
  6      A. Yes.                                             6   it sounds like it's in Kansas, but let's make
  7      Q. -- where you were?                               7   sure we're in the right place. We're going to go
  8      A. Yes.                                             8   back to exhibit, is it -- it's M? Okay. I'm
  9            MS. PILATE: Is that in our                    9   sorry, we're going to mark another exhibit. And
 10   exhibit?                                              10   it's going to be Plaintiff's 16. In the notebook
 11      Q. (BY MS. PILATE) Okay. Do you feel able          11   it is marked as M.
 12   to look at a close-up of the area?                    12            (REDACTEDExhibit 16 was marked for
 13      A. Yes.                                            13   identification.)
 14      Q. Are you sure?                                   14       Q. And this is a series of closer-in
 15      A. Yes.                                            15   pictures on the Kansas side. We'll just see if
 16      Q. I know that's probably hard.                    16   any of those look familiar. Can you see that?
 17            MS. PILATE: Let's -- Lindsay,                17       A. Excuse me. Yes, I do. Sorry about
 18   let's go back and --                                  18   that.
 19      Q. (BY MS. PILATE) What you just described         19       Q. Okay. Does that area look familiar to
 20   was driving across the James Street Bridge and        20   you?
 21   then going back into KCK.                             21       A. Yes.
 22      A. Uh-huh. That's --                               22       Q. Do you see train tracks there?
 23      Q. And there's an --                               23       A. Yes.
 24      A. -- like, when we would come from --             24       Q. Do you see the river?
 25      Q. -- area around Third Street right at the        25       A. Yes.
                                                  Page 91                                                   Page 93
  1   river, is that --                                      1      Q. Is this an area that you were taken to?
  2      A. Well, when we would come from                    2      A. Yes.
  3   Independence Avenue.                                   3      Q. You know how many times you were taken
  4      Q. Okay. That's making sense. Go on.                4   there?
  5      A. Yes. We would come from those                    5      A. Quite a bit. I don't have a numeric
  6   apartments on Independence Avenue where I first        6   number, but quite a bit.
  7   said that the little baby was crying or whatever,      7      Q. Did that -- do you think several times,
  8   walking in our direction. When we leave out of         8   like, five or six?
  9   the apartment complex, we would make a right, and      9            MR. ROACH: Object to the form.
 10   I think the highway is -- kind of, like, get on       10      Q. (BY MS. PILATE) You can answer. Just
 11   35, but get off on the 12th Street exit. And we       11   as close as you can get it.
 12   would go down past, like, a gas station. It's         12      A. Yeah, maybe -- maybe about -- maybe
 13   actually two gas stations.                            13   about eight times.
 14      Q. And you're talking about taking 12th            14      Q. Okay. So --
 15   Street from Kansas City, Missouri, over to Kansas     15      A. Maybe.
 16   City, Kansas?                                         16      Q. -- would it be fair to say somewhere
 17      A. Yes.                                            17   between five and ten?
 18      Q. Okay. That makes sense.                         18      A. Yes.
 19      A. I'm just speaking on this particular            19      Q. Okay. What would Golubski do when he
 20   thing from when we left --                            20   took you to this area?
 21      Q. Okay.                                           21      A. He would do what he just normally does.
 22      A. -- from with the scare of the baby and          22   Sexually assault me. Just -- I don't -- I mean,
 23   stuff. That's where we went after there --            23   I guess I'm trying to figure out the question,
 24      Q. Okay.                                           24   you know, like --
 25      A. -- so -- but we have got to the river           25      Q. Just as best you can describe, were

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                                                  Page 94                                                   Page 96
  1   these similar to the other occasions?                  1   here no more." "I can dump you off in that river
  2      A. No.                                              2   and nobody will ever know shit." "You're an
  3      Q. What was different about them?                   3   orphan, nobody even knows you missing." "You've
  4      A. Because he made a song pertaining to the         4   let so many men in your" -- you let so many
  5   river. Every encounter at the river I thought          5   men -- I'm sorry.
  6   was my last day on earth. Like, I was almost so        6      Q. Guys, let's take five.
  7   sure of it because he would make a joke and say,       7      A. I don't want to take a break, I just
  8   down by the river, it's a -- it's a lullaby that       8   needed a second away from that part.
  9   we did when we were kids, but it goes, "Down by        9      Q. Okay.
 10   the river, said a hanky-pank, where the bullfrogs     10      A. So is there anything else about the
 11   jump from bank to bank." And that's the way we        11   river?
 12   would play to -- I mean, pick a team leader for       12      Q. Did he ever say anything about how it
 13   kick ball or something.                               13   smelled?
 14          His -- the way he said it was, "Down by        14      A. Excuse me?
 15   the river said a hanky-pank, where they won't         15      Q. Did he ever say anything about how it
 16   find her until she stank." So the river was           16   smelled?
 17   always a traumatic experience for me because I        17      A. He said he's the reason why it stinks.
 18   felt like I would -- I could be in that water and     18      Q. What did he mean by that?
 19   no one would probably ever know or ever find me,      19            MR. ROACH: Objection to the form.
 20   anything. So the river was, like, one of the          20      A. He said he's the reason why the river
 21   worst places out of -- none of the places were        21   stinks. And by saying that, he meant maybe he
 22   pleasure at all, but that was the most                22   dumped bodies in there or -- it's not a maybe.
 23   detrimental to me. That was so dehumanizing, so       23   That's what he was practically saying. Was it
 24   scary. Like, to me the river was torture.             24   true; I have no clue. Did he smirk, did he
 25   Because it was so big and it was just so many         25   laugh, did he give me any indication that he's
                                                  Page 95                                                   Page 97
  1   black areas, and it was just, like, he made a          1   not -- that it's a joke or he's playing? No.
  2   joke about the river way too many times for me         2         Nothing was -- everything was so stern
  3   not to -- my heart not to jump out of my chest         3   and so serious, you know. Like, one wrong move
  4   every time we get close that way.                      4   and all I was thinking about was picturing myself
  5      Q. Did he say any other things about the            5   floating in the river because I was -- felt like
  6   river?                                                 6   I was always one mistake away from ending up down
  7      A. Yeah.                                            7   there. That was his favorite threat, to leave
  8      Q. What did he say?                                 8   me, you know, and he would always say no one
  9      A. He would -- he would say things such as          9   would hear you. He's like, "You hear those
 10   if you don't learn how to -- "If you don't learn      10   trains, won't nobody hear you scream or nothing."
 11   how to suck this dick, you going to end up in         11   He knew I was very uncomfortable with the river
 12   there with the fishes." Like, tease me and act        12   and he continued to do it to traumatize me and to
 13   like he was finnin' to do things to me to scare       13   antagonize me and want a reaction out of me for
 14   me or whatever. Like, "You want to call your          14   he can have a reason to take his frustrations out
 15   grandma and say bye or what." And I would plead       15   on me. But I didn't fall for it. I ate every
 16   with him, like, no, what -- no, what you want me      16   word he threw at me and just prayed the whole
 17   to do. And he -- he told me to walk with him.         17   time. Even when he was raping me, I just would
 18   We went to the car and we got a dog leash and he      18   close my eyes and pray.
 19   put it around my neck and snapped it close, and       19         It will be a -- it's a -- I'm sure
 20   told me get on all fours. And so he walked            20   everyone knows the smell when you come across the
 21   alongside of me while I crawl or whatever.            21   bridge. So when he say he's responsible, that's
 22      Q. Oh, my God.                                     22   the smell he's talking about. He's saying he's
 23      A. He would tell me that he promised no one        23   responsible for the river smelling that way.
 24   would find me. "Mark my fucking words. You            24   Whether he was joking or not, that ain't for me
 25   better ask Connie about me. Oh, wait, she's not       25   to determine. But I didn't take it as a joke.

                                                                                              25 (Pages 94 - 97)
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                                                  Page 98                                                    Page 100
  1   And I believed everything that he said.                1   me, but it's just me and him in the car.
  2      Q. (BY MS. PILATE) Did he make other                2      Q. Did you ever take any steps to -- that
  3   references to killing people?                          3   would allow people to find out what happened to
  4      A. All the time.                                    4   you if something did happen to you?
  5      Q. What did he say?                                 5      A. Yes.
  6      A. "Cross me, this is where you'll end up";         6      Q. What did you do?
  7   "Run your mouth, you'll get done like the rest of      7      A. I took hair strands out of my hair. I
  8   them"; "I run this town, don't nothing happen          8   bit my thumb right here to get blood so my family
  9   without me saying so"; "This is where most mother      9   could find me. It was all I knew -- I saw it on
 10   fuckers end up that disrespect me."                   10   a movie and I went with it. So yeah, I would
 11      Q. Were those common things he said?               11   tear hair out of my hair and leave it around
 12      A. Just at the river mostly.                       12   anywhere I could, any place we go. Or I would
 13      Q. Mostly at the river.                            13   bite my thumb, which still has a bite mark to
 14      A. The --                                          14   this day, and squeeze some type of blood out.
 15      Q. How many --                                     15      Q. You have a scar on your thumb now?
 16      A. The try me's and all of that, that was          16      A. Yes, I do.
 17   frequently, but --                                    17      Q. Did you leave any hair in his car?
 18      Q. I'm sorry, the what was frequent?               18      A. Yeah.
 19      A. The try me's. You know, like, try me if         19      Q. Did you try and leave blood in his car?
 20   you want. Those were frequently used, but when        20      A. No.
 21   he's inquiring about the river, it's always           21      Q. Would that have attracted too much
 22   death, you know. Like, not saying it was              22   attention?
 23   supposed to be a swimming experience, but it was      23      A. Yes.
 24   never, you know, just -- he did what he wanted to     24            MR. ROACH: Object to the -- object
 25   do to me at the river, like, he humiliated me, he     25   to the form.
                                                  Page 99                                                    Page 101
  1   dehumanized me, he belittled me. He took every 1              A. On the door handle, yes, I did, but not
  2   piece of sanity that I had by putting a dog        2       inside the car.
  3   collar on me and walking me around as if I'm his 3            Q. (BY MS. PILATE) Okay. Explain that to
  4   pet and I'm not a human being. So that's why the 4         me, how would you leave it on the -- try to leave
  5   river is so devastating to me. And on top of       5       it on the door handle?
  6   that, after you've already tortured me, you still  6          A. I just would do it when I'm getting back
  7   want to have sex with me. And then you're upset 7          in the car.
  8   because my body is not reacting to yours, so       8          Q. Okay.
  9   that's where the slapping and the punching came 9             A. I would already have bitten myself and
 10   in at. Excuse me.                                 10       getting into the car.
 11      Q. Do you want to take a short break now? 11               Q. Would your thumb be bleeding?
 12   You want to keep going?                           12          A. Not pouring down blood, but yeah, it
 13      A. Yes.                                        13       would --
 14      Q. Because I'm following you.                  14          Q. Enough to get a drop of blood?
 15      A. Yeah.                                       15          A. Yes.
 16      Q. Okay. Do you know how many times you 16                 Q. You said earlier that you did not have a
 17   heard the rhyme that you described?               17       cell phone with you. Did that have an impact on
 18      A. Over 50 times. I don't know. It's,          18       your emotions or your mental state?
 19   like, I can't forget it. It's not been a day      19                MR. ROACH: Object to the form.
 20   that has went by that that song don't come up in 20           Q. (BY MS. PILATE) You can answer.
 21   my head and I hate it. And I want it out of my 21             A. Me not having my phone?
 22   memory bank, but I'm not sure how to get there. 22            Q. Uh-huh.
 23      Q. Is that something that he was kind of       23          A. Me not having my phone was just another
 24   reciting to himself or to you?                    24       one of his techniques or another one of his ways
 25      A. I mean, he didn't just, like, point at      25       of controlling me, so I couldn't call for help or
                                                                                              26 (Pages 98 - 101)
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                                                  Page 102                                                 Page 104
  1   anything, you know. So yeah, I -- I didn't like         1      A. I told my aunt.
  2   the fact that I can't bring my phone.                   2      Q. And what happened?
  3      Q. I think you said earlier that when he             3      A. I confided in her and I trusted her and
  4   picked you up, you would leave your phone               4   she promised me, and we locked in on it that she
  5   somewhere?                                              5   wouldn't act on it, she would just hear me out.
  6      A. Wherever he picked me up to.                      6   She knew what was at risk, she knew what was at
  7      Q. Okay.                                             7   stake, and she took me to the police department
  8      A. And not directly right there, but in the          8   without me having any knowledge of where we were
  9   vicinity, yes, I would always bury my phone.            9   going or anything. And so when she pulled up
 10      Q. And what kind of places would you leave          10   there, I freaked out. She was mad at me for not
 11   your phone?                                            11   getting out the car because I was scared to get
 12      A. I'd put it, like, in the grass, up under         12   out. She was just so on my side, she so was
 13   leaves, like, anything that I seen that don't          13   going to make this right. That day in the car
 14   look like someone can just walk by and notice it,      14   was going to be the last day that I would ever
 15   you know, I would always just, like, dig some          15   feel any pain from this man. That's what it was;
 16   type of -- put, you know, like, push it in the         16   right?
 17   ground or put rocks on top, put leaves on top,         17      Q. So you thought your aunt would help you?
 18   whatever. And just turn it on silent.                  18      A. Yes.
 19      Q. Did he always drop you back off where he         19      Q. But it didn't turn out that way?
 20   picked you up or did he sometimes drop you off         20      A. No.
 21   other places?                                          21      Q. Okay. What happened when she took you
 22      A. He mostly dropped me off where he picked         22   to the police department?
 23   me up, but if he was in a rush, he would just get      23      A. She went in, she got mad at me for not
 24   me close to the area.                                  24   going in with her and said if I'm not hiding
 25      Q. Did you sometimes have to walk a                 25   anything, I would go in with her. I was
                                                  Page 103                                                 Page 105
  1   distance to get your cell phone?                        1   terrified.
  2      A. Yeah. Majority of all the time, yes.              2      Q. What were you afraid of?
  3      Q. And were those times when you were                3      A. Seeing him or somebody seeing me go in
  4   walking to retrieve your phone and get home, were       4   there or him finding out that I even told
  5   those usually at night?                                 5   anybody. So she went in by herself while I sat
  6      A. Yes.                                              6   in the car.
  7      Q. How old do you remember being on those            7      Q. How long was she in there?
  8   occasions?                                              8      A. Maybe ten or 15 minutes.
  9      A. Which occasions? Getting my phone?                9      Q. What happened when she came back out?
 10      Q. When you would have to walk at night and         10      A. She flipped it on me.
 11   go get your cell phone, were you 13, 14, 15?           11      Q. What did she say?
 12      A. Yeah, it happened throughout the whole           12      A. She said that I lied, that's a good man
 13   duration. Maybe the first couple encounters, you       13   of integrity, he wouldn't jeopardize his job, why
 14   know, I left my phone wherever -- whoever house I      14   would I say something like that about him. It
 15   was at, but after that when it would get later, I      15   can't be true because he was on duty during the
 16   would bring my phone with me and bury it               16   times that I had mentioned that we had
 17   somewhere close to where he just picked me up          17   encounters. And for a fact, he was on duty, so
 18   from in case I can't get back in that house or         18   there's no way possible he done that to me. She
 19   whatever, or I'm going home, or whatever the case      19   don't know what type of game I'm playing, but it
 20   might be.                                              20   stops today.
 21      Q. Was there an occasion or a time at some          21      Q. So those are the things she said to you?
 22   point when you told another person what had been       22      A. Yes.
 23   happening?                                             23      Q. When Golubski did those things to you,
 24      A. Yes.                                             24   was it your understanding he was on duty?
 25      Q. Who did you tell?                                25            MR. ROACH: Object to the form.
                                                                                            27 (Pages 102 - 105)
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                                                Page 106                                                   Page 108
  1      A. Yes.                                            1   away. I thought I was going to die because I
  2      Q. (BY MS. PILATE) Did he appear to be on          2   couldn't catch my breath. He spit on me.
  3   duty?                                                 3      Q. He spit on you?
  4      A. Yes.                                            4      A. Yes. He spit on me. He spit directly
  5      Q. Okay. What makes you say that?                  5   on me with every intent to make sure he connected
  6      A. Because of the calls he would take, and         6   with me. Because I was a cum dumpster, because I
  7   the -- sometimes having to rush off and, like,        7   was a rat, I was a snitch, I was a fake ass --
  8   not drop me off at my destination, close to it,       8   oh, God. Everything that you can imagine under
  9   but that he had to get back to work or whatever       9   the sun. He hated me at that moment. And he
 10   the case might be.                                   10   didn't have a problem expressing that.
 11      Q. So saying he was on duty was no kind of        11      Q. Were you in the car with him?
 12   reason to you?                                       12      A. Yeah.
 13      A. I'm sorry?                                     13      Q. Do you remember where the car was?
 14      Q. When someone says he was on duty,              14      A. We were on 38th Street.
 15   that's --                                            15      Q. Where on 38th?
 16      A. It meant nothing to me.                        16      A. 38th and State. And he pulled into the
 17      Q. -- no reason to you?                           17   cemetery.
 18      A. Yeah. It meant nothing to me.                  18            MS. PILATE: We have that one. Did
 19      Q. Did you see Golubski again after your          19   I hand you the right folder?
 20   aunt went to the police department?                  20            MS. RUNNELS: It's right here.
 21      A. Yes.                                           21      Q. (BY MS. PILATE) Okay. We are going to
 22      Q. Did he know what had happened?                 22   go to internally marked Exhibit Q. And we are
 23      A. Yes.                                           23   going to mark as Plaintiff's 17.
 24      Q. What did he say?                               24            (REDACTEDExhibit 17 was marked for
 25      A. Excuse me. He called me all kind of            25   identification.)
                                                Page 107                                                   Page 109
  1   names and he told me that I fucked up and now I 1                   MS. PILATE: Okay. Where --
  2   gotta pay for it. Somebody gotta pay for it. I     2      where's State Avenue there, Lindsay, can you back
  3   can choose or he can choose. He struck me a        3      out a little? Or do we not have that?
  4   couple times.                                      4                MS. RUNNELS: It's a close-up view.
  5      Q. Where did he strike you?                     5      I can get Google Maps if you want.
  6      A. The first time he hit me, he hit me in       6                MS. PILATE: Yeah.
  7   my chest and I lost my breath.                     7                MS. RUNNELS: I mean, I can get on
  8      Q. Did he hit you with an open hand or a        8      Google Maps, but this is --
  9   closed fist?                                       9                MS. PILATE: Okay.
 10      A. A fist.                                     10         Q. (BY MS. PILATE) Do you recognize this
 11      Q. A fist.                                     11      area, or would it help to have a satellite?
 12      A. And then he hit me again in my face.        12         A. Yeah, I recognize it.
 13   And when he hit me in my face, this opened up, 13                   MS. PILATE: Okay. Lindsay, if you
 14   which is why it's a permanent scar there. It      14      could go down to the other photo.
 15   just opened up a hole in there, I don't know how. 15         Q. (BY MS. PILATE) Do you recognize this
 16   And then my bottom lip hung almost to my chin, 16         area?
 17   maybe a little bit above my chin from the         17         A. Yes.
 18   swelling.                                         18         Q. Okay. Is that the area you were in?
 19      Q. So you're saying he punched you in the 19              A. Yes.
 20   chest and then in the face?                       20         Q. Can you say where his vehicle was
 21      A. He punched me quite a few times, but I'm 21         parked?
 22   just -- I'm naming the ones that left an impact, 22          A. It wasn't a particular place. It's like
 23   and those were the two. The one to the chest,     23      a maze going through there, so --
 24   because I've never been hit in my chest and I had 24         Q. Okay. Was it among the headstones at
 25   no idea something like that could take my breath 25       the cemetery?

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                                              Page 110                                                   Page 112
  1      A. Yes.                                          1      A. Yes.
  2      Q. Okay. Was there anybody else around?          2      Q. After he struck you, what happened?
  3      A. One time I seen people around.                3      A. He was like, get ready to dig my grave,
  4      Q. Okay. Did he take you there more than         4   and telling me to walk around, find an area, find
  5   once?                                               5   where you want to be buried at, don't just stand
  6      A. Yes.                                          6   there.
  7      Q. Before this day had he taken you there?       7      Q. What did you do?
  8      A. No.                                           8      A. I just stood there.
  9      Q. Do you remember seeing anyone else on         9      Q. What happened after that?
 10   that day?                                          10      A. He just -- he was upset about the visit
 11      A. Yes.                                         11   to the police station, so --
 12      Q. Okay. And where was that person?             12      Q. Did you get back in his car after that?
 13      A. They were visiting a grave site, an          13      A. Yes.
 14   older Caucasian couple.                            14      Q. Did he drop you off anywhere?
 15      Q. Do you think they could have heard or        15      A. He dropped me off at the end of the
 16   seen you?                                          16   cemetery or the entrance -- it's an entrance or
 17      A. No.                                          17   an exit.
 18           MR. ROACH: Object to the form.             18      Q. Did you walk home from there?
 19      Q. (BY MS. PILATE) Were they near enough        19      A. Yes, I did.
 20   to have heard or seen you?                         20      Q. How far was that?
 21      A. It wasn't nothing for them to hear.          21      A. I walked to 49th and Parallel.
 22      Q. So was -- he's speaking at a loud tone       22      Q. That's quite a distance.
 23   of voice or a regular tone of voice?               23      A. From 38th and State.
 24      A. We're still inside the car.                  24      Q. Were you bleeding?
 25      Q. Okay. And he's saying these things?          25      A. Yes, I was.
                                              Page 111                                                   Page 113
  1      A. Yes.                                          1      Q. Did anyone see you when you got home?
  2      Q. And were you seated still in the car          2      A. My sister.
  3   when he struck you?                                 3      Q. Did she react to how you were feeling?
  4      A. No.                                           4      A. Yes.
  5      Q. Where were you when he struck you?            5      Q. Was she -- did she express shock seeing
  6      A. On the outside of the car on the              6   you that way?
  7   passenger -- on the driver's side because the       7           MR. ROACH: Object to the form.
  8   driver's side faced the grass and all of that,      8      A. Yeah, she was up -- she was upset.
  9   the passenger side would have faced the road        9      Q. (BY MS. PILATE) Did you go to the
 10   where it's in plain view, so it was kind of,       10   doctor?
 11   like, off to the driver's side. When he told me    11      A. No.
 12   to get out and walk around to the car to come      12      Q. Okay. And why not?
 13   here, I walked in front of the car around to the   13      A. Because I was afraid they was going to
 14   driver's side.                                     14   ask me too many questions.
 15      Q. And so you were both standing outside        15      Q. What kind of questions were you worried
 16   the car on the driver's side?                      16   about?
 17      A. Yes.                                         17      A. Who did this to me.
 18      Q. Was there anybody near enough that they      18      Q. What did you think could happen if you
 19   could have seen you?                               19   answered those?
 20      A. Just the Caucasian couple that I was         20      A. Somebody's gonna get hurt.
 21   speaking of earlier.                               21      Q. You mentioned earlier that he would say
 22      Q. Okay. And that's where you and he were       22   things about your grandmother. Did that continue
 23   standing when he struck you?                       23   during the times that he saw you?
 24      A. Yes.                                         24      A. Yes.
 25      Q. Were you bleeding?                           25      Q. And what would he say about your

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                                                  Page 114                                                   Page 116
  1   grandma?                                                1   heavy; and I told her, yeah, when I'm first
  2      A. The same thing he always said. That I             2   starting out. For some reason I thought it was
  3   can kiss -- I kiss my little sweet little grandma       3   going to stop. Why, I don't know. But I thought
  4   goodbye. And "You fucked up now," "Now you got          4   the bleeding would stop.
  5   blood on your hands," "What you going to do."           5          She asked me did I want to go to the
  6   "You caused this, this is what you wanted." Just        6   hospital or did I want to go to school, was I
  7   everything representing to make it look like I          7   feeling better or what. Of course, I didn't want
  8   did something wrong.                                    8   to go to the hospital, you know, that sort of
  9      Q. Do you know about how old you were when           9   questions and all that come in, so I went to
 10   this happened?                                         10   school. Approximately 13 minutes after me being
 11      A. I was, like, 15.                                 11   there, I was told that they found me unconscious
 12      Q. Was there a time when you experienced a          12   by the girls' bathroom for -- from losing too
 13   miscarriage?                                           13   much blood. I'm not sure what took place, I'm
 14      A. Yes.                                             14   only going off of what I was told. When I woke
 15      Q. About when was that?                             15   up, I was in Bethany Medical Center, and they
 16      A. At that age. At 15 or 16.                        16   told me that I had suffered from a miscarriage.
 17      Q. So somewhere during the time --                  17       Q. Do you know how you got there?
 18      A. Yes.                                             18       A. I don't -- I wasn't awake during that
 19      Q. -- that Golubski was doing these                 19   process, but I do know I -- I think I was
 20   assaults?                                              20   transported --
 21      A. Yes.                                             21       Q. Someone took you there?
 22      Q. Okay. Did you know you were pregnant?            22       A. -- by ambulance or something, yeah. I
 23      A. No.                                              23   mean, I knew someone took me, but I wasn't sure
 24      Q. What happened, how did you experience            24   if it was the ambulance or if my grandma made it
 25   the miscarriage?                                       25   in time, I don't know, but I was out of it, so I
                                                  Page 115                                                   Page 117
  1      A. I went to bed that night and I was                1   just --
  2   awakened by a sharp pain in my stomach, an              2      Q. Was your grandma at the hospital with
  3   undescribable pain. And it was -- it started            3   you?
  4   being consistent, so I woke my grandma up to let        4      A. Yeah. When I woke up, she was, yes.
  5   her know what was going on, and she gave me,            5      Q. Were you in a room at the hospital?
  6   like, ibuprofen, something, I can't remember. We        6      A. No. I mean, I was in, like, a hospital
  7   thought it was a severe case of the cramps, so --       7   bed, but --
  8   yeah. So she gave me medicine or whatever and I         8      Q. Was it the emergency room?
  9   tried to go back to sleep. I think I did go back        9      A. -- there was other beds in there. No.
 10   to sleep for maybe a little bit under an hour.         10   It was, like, kind of, like, recovery room or
 11          And it was time for me to get up for            11   something, should I say. Yeah. I don't know
 12   school. I was in a tremendous amount of pain,          12   what else -- other way to call it because it
 13   but I started to wonder if it had anything to do       13   wasn't a room to myself, you know, like, yeah.
 14   with the assaults, so should I say something or        14      Q. So what thoughts did you have when you
 15   not. I had no idea it had anything to do with a        15   realized where you were?
 16   child. But I -- I knew the blood was way heavier       16      A. I screwed up. I was -- that's all I was
 17   than a normal cycle for me. And I was losing,          17   telling myself, was I screwed up. I screwed up.
 18   like, blood clots, if that makes sense. I then         18   Like, he's going to kill me.
 19   took a towel out of the linen closet and put it        19      Q. Why did you think he's going to kill
 20   in my pants. And --                                    20   you?
 21      Q. So you were bleeding very heavily?               21      A. Because he wouldn't -- he's not going to
 22      A. Yes. Yes.                                        22   believe that he's -- he made comments to me that
 23      Q. What happened then?                              23   a lot of bitches was putting babies off on him
 24      A. My grandma asked me do I normally bleed          24   because of his money. And he told me that --
 25   that heavy, she haven't known me to bleed that         25   basically made his self to be this so handsome
                                                                                             30 (Pages 114 - 117)
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                                                  Page 118                                                    Page 120
  1   guy that people wanted to pin kids off on him           1      A. Yes.
  2   that wasn't his. So I already knew how he felt          2      Q. Did he mention anyone else specifically
  3   about kids. I mean, not wanting kids, I'm sorry,        3   with regard to paternity and how he was not that
  4   should I say, or disowning them.                        4   person's father?
  5          And so he told me I set him up. I knew           5      A. Yes.
  6   what I was doing all along, what did I tell them,       6      Q. What did he say?
  7   don't lie, he can pull the record, he has access        7      A. He asked me if I knew some Niasha or
  8   to everything. And all type of threats of that          8   something like that, or if I heard of her. I
  9   nature. And he wanted to know what story did I          9   told him I didn't, and he said her mother's a
 10   tell them. And that was his main focus. Not was        10   fucking prostitute, she's one of the bitches I
 11   I okay, not was I feeling better, none of that.        11   was telling you about. And he was referring to
 12   Just what did you tell them.                           12   people pinning babies on him. And he told me
 13      Q. Did he say things that expressed a worry         13   that her -- her mother worked for him and she
 14   about it leading back to him?                          14   tried to pull the same thing and say that he got
 15      A. Yeah. He told me that it's not -- it             15   her pregnant or whatever, but he know for a fact
 16   wasn't his baby. I'm sorry, it's so -- he told         16   he didn't. And he can't get anyone pregnant
 17   me it wasn't his baby, that I was a liar, that I       17   anymore and all this, so he just know it's a lie.
 18   was trying to pin it on him, that I wanted money       18      Q. Do you know what he meant when he said
 19   from him, whatever it is that I'm trying to gain,      19   her mother worked for him?
 20   I'm not gaining nothing but a grave site, what         20      A. He said her mother was a prostitute, so
 21   did I tell them. And let him find out that I           21   when he said that she worked for him, I took it
 22   mentioned his name or mentioned anything about         22   as that was her occupation.
 23   him, down to the color of his hair, and he was         23      Q. Okay. What did her occupation have to
 24   going to leave my grandma's brain sitting on the       24   do with him, did you know?
 25   table.                                                 25      A. I believe, you know, she had to report
                                                  Page 119                                                    Page 121
  1      Q. Do you remember what you did after he             1   to him.
  2   said this?                                              2      Q. When -- did Golubski ever say to you
  3      A. After he said it?                                 3   that people worked for him?
  4      Q. After he -- what happened after that?             4      A. Yes.
  5      A. I asked my grandma to take me to church.          5      Q. What did that mean?
  6   And I just -- I thought it was over for me. But         6             MR. ROACH: Object to the form.
  7   I have no way of telling nobody.                        7      Q. (BY MS. PILATE) You can answer that.
  8      Q. Is there anybody else who could have              8   Did he ever explain to you what that meant or say
  9   made you pregnant?                                      9   something that allowed you to understand what
 10      A. No.                                              10   that meant?
 11      Q. Did you concoct any kind of story for            11      A. Yeah, he -- he said nothing happens in
 12   the hospital or your family?                           12   that -- in the town without him knowing. He got
 13      A. Yes.                                             13   people doing time for him right now. He named a
 14      Q. What did you say?                                14   guy named Edward and said, "You better contact
 15      A. I said that a guy that I was talking to,         15   him to ask him about why he's sitting in there
 16   basically he did it to me.                             16   for something he didn't do. I'm not to be fucked
 17      Q. Was your grandma supportive of you?              17   with."
 18      A. Of that situation?                               18      Q. So he said that Edward was serving time
 19      Q. Of you generally. Was your grandmother           19   for something that he did?
 20   supportive of you at the --                            20      A. He didn't particularly say that he did;
 21      A. Very.                                            21   he said that Edward didn't do. So basically he
 22      Q. Were you living with her?                        22   could make -- well, ain't no basically. His
 23      A. Yes.                                             23   words was always, "I make shit happen," "I make
 24      Q. At that time was she the person you were         24   the impossible possible," "Don't nothing happen
 25   closest to?                                            25   in this town without me knowing about it," "All

                                                                                              31 (Pages 118 - 121)
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                                                  Page 122                                                   Page 124
  1   these mother fuckers report to me."                     1   money in his other pocket, and I've seen money
  2      Q. Who were the mother fuckers?                      2   being put in a McDonald's bag as well. So that's
  3      A. Just --                                           3   how he carried his money. He would never just,
  4            MR. ROACH: Object to the form.                 4   like, pull that wad out in front of other people,
  5      A. -- people in general, people on the               5   like, if he was giving, like, getting change or
  6   streets or whatever.                                    6   something like that, he would lean in and that's
  7      Q. (BY MS. PILATE) Okay. Did he indicate             7   how I would see it, and pull out whatever bill he
  8   that he was referring to drug dealers?                  8   needed, and then put it in. Whatever bills was
  9      A. He has referred to drug dealers. I'm              9   over here, I guess that's something that he
 10   not saying he was referring to them in that            10   make -- I'm sorry, not I guess. That's money
 11   particular conversation, but yes, he has referred      11   that he was picking up from people.
 12   to drug dealers.                                       12       Q. Did you ever see him exchange items with
 13      Q. Did you ever hear people who worked as           13   people on the street?
 14   drug dealers address Golubski by any particular        14       A. Yeah.
 15   term?                                                  15       Q. Yeah. Could you please describe that.
 16            MR. ROACH: Object to the form.                16       A. I just saw him -- I don't know how to
 17            MS. PILATE: I'm asking if she                 17   say it. You know, like, I just saw him dealing
 18   heard him say it.                                      18   drugs, you know, like, giving people,
 19            MR. ROACH: Object to the form.                19   particularly black women mostly, mostly crack,
 20      Q. (BY MS. PILATE) Go ahead. You can                20   sometimes the brown cigarettes, but most of the
 21   answer.                                                21   time it was crack, crack cocaine.
 22      A. Yes.                                             22       Q. (BY MS. PILATE) I think this would be a
 23      Q. What did they call him?                          23   good time to take a break. Just -- see what time
 24      A. Boss Man.                                        24   it is.
 25      Q. Okay. Do you know if he wanted to be             25             THE VIDEOGRAPHER: We're going off
                                                  Page 123                                                   Page 125
  1   called Boss Man?                                        1   the record at 2:55 p.m.
  2      A. I don't know. I mean, it didn't affect            2            (Short break was taken.)
  3   him, I think he actually liked it.                      3            THE VIDEOGRAPHER: We're back on
  4      Q. Did he say things that indicated to you           4   the record at 3:02 p.m.
  5   that he was a boss?                                     5            MS. PILATE: Okay. We are
  6      A. Just basically --                                 6   recessing for the day. Our witness is
  7            MR. ROACH: Object to the form.                 7   emotionally spent and depleted at this time. We
  8      A. -- what I just said. Just, you know, he           8   will resume this deposition at another date to be
  9   runs this town and don't nothing move unless he         9   agreed upon by counsel. That's all I have.
 10   say so. And just everybody reports to him.             10   Anybody else have anything they want to say?
 11      Q. (BY MS. PILATE) Did you ever see him             11            MS. EVERS GUERRA: No.
 12   with a large amount of cash?                           12            MS. PILATE: Concur?
 13      A. Yes.                                             13            MS. EVERS GUERRA: No, I don't have
 14      Q. Okay. How many times did that happen?            14   anything.
 15      A. Not many. Like, maybe -- maybe between           15            MR. ROACH: Yeah.
 16   five and seven times, I would say.                     16            MS. PILATE: Okay, thanks.
 17      Q. Okay. And how did that cash appear to            17            THE VIDEOGRAPHER: We're going off
 18   you, was it a bundle of bills or stuff --              18   the record at 3:03 p.m.
 19      A. Yeah.                                            19        (Deposition adjourned at 3:03 p.m.)
 20      Q. Go ahead.                                        20
 21      A. I'm sorry.                                       21
 22      Q. Go ahead. Just describe it whatever way          22
 23   you would.                                             23
 24      A. Yeah. So he had a wad of money he would          24
 25   have folded up in his pocket. And then he had          25

                                                                                             32 (Pages 122 - 125)
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                                                                Page 126                                                                            Page 128
                                                                             1            DEPOSITION REVIEW
  1              CERTIFICATE                                                             CERTIFICATION OF WITNESS
  2                                                                          2
                                                                                      ASSIGNMENT REFERENCE NO: 4369344
  3          I, Cassandra L. Sinthusy, a Certified                           3        CASE NAME: Mcintyre, Lamonte Et Al v. Unified Government Of
                                                                                 Wyandotte County Et Al
  4    Court Reporter of the State of Missouri, do                                    DATE OF DEPOSITION: 12/18/2020
  5    hereby certify:                                                       4        WITNESS' NAME: REDACTEDREDACTED
                                                                             5        In accordance with the Rules of Civil
  6          That prior to being examined the witness                             Procedure, I have read the entire transcript of
                                                                             6    my testimony or it has been read to me.
  7    was by me duly sworn;
                                                                             7        I have made no changes to the testimony
  8          That said deposition was taken down by                               as transcribed by the court reporter.
                                                                             8
  9    me in shorthand at the time and place                                      _______________         ________________________
                                                                             9    Date            REDACTEDREDACTED
 10    hereinbefore stated and was thereafter reduced to
                                                                            10        Sworn to and subscribed before me, a
 11    writing under my direction;                                                Notary Public in and for the State and County,
                                                                            11    the referenced witness did personally appear
 12          That I am not a relative or employee or                              and acknowledge that:
 13    attorney or counsel of any of the parties, or a                      12
                                                                                     They have read the transcript;
 14    relative or employee of such attorney or counsel,                    13       They signed the foregoing Sworn
                                                                                        Statement; and
 15    or financially interested in the action.                             14       Their execution of this Statement is of
 16          WITNESS my hand and seal this 29th day                                     their free act and deed.
                                                                            15
 17    of December, 2020.                                                            I have affixed my name and official seal
                                                                            16
 18                                                                               this ______ day of_____________________, 20____.
 19            <%24955,Signature%>                                          17
                                                                                         ___________________________________
 20       CASSANDRA L. SINTHUSY, CCR #1272, RMR, CRR                        18           Notary Public
 21                                                                         19           ___________________________________
                                                                                         Commission Expiration Date
 22                                                                         20
                                                                            21
 23                                                                         22
 24                                                                         23
                                                                            24
 25                                                                         25

                                                                Page 127                                                                            Page 129
  1                 Veritext Legal Solutions                                 1            DEPOSITION REVIEW
                     1100 Superior Ave                                                   CERTIFICATION OF WITNESS
                                                                             2
  2                    Suite 1820                                                     ASSIGNMENT REFERENCE NO: 4369344
                    Cleveland, Ohio 44114                                    3        CASE NAME: Mcintyre, Lamonte Et Al v. Unified Government Of
  3                  Phone: 216-523-1313                                         Wyandotte County Et Al
  4                                                                                   DATE OF DEPOSITION: 12/18/2020
      January 8, 2021                                                        4        WITNESS' NAME: REDACTEDREDACTED
                                                                             5        In accordance with the Rules of Civil
  5                                                                               Procedure, I have read the entire transcript of
      To: Robert J. Hoffman                                                  6    my testimony or it has been read to me.
  6                                                                          7        I have listed my changes on the attached
    Case Name: Mcintyre, Lamonte Et Al v. Unified Government Of Wyandotte         Errata Sheet, listing page and line numbers as
  7 County Et Al                                                             8    well as the reason(s) for the change(s).
                                                                             9        I request that these changes be entered
  8 Veritext Reference Number: 4369344                                            as part of the record of my testimony.
  9 Witness: REDACTEDREDACTED Deposition Date: 12/18/2020                   10
 10                                                                                   I have executed the Errata Sheet, as well
    Dear Sir/Madam:                                                         11    as this Certificate, and request and authorize
 11                                                                               that both be appended to the transcript of my
                                                                            12    testimony and be incorporated therein.
 12 Enclosed please find a deposition transcript. Please have the witness   13    _______________           ________________________
 13 review the transcript and note any changes or corrections on the              Date              REDACTEDREDACTED

 14 included errata sheet, indicating the page, line number, change, and    14
 15 the reason for the change. Have the witness’ signature notarized and              Sworn to and subscribed before me, a
 16 forward the completed page(s) back to us at the Production address      15    Notary Public in and for the State and County,
                                                                                  the referenced witness did personally appear
    shown                                                                   16    and acknowledge that:
 17                                                                         17        They have read the transcript;
    above, or email to production-midwest@veritext.com.                               They have listed all of their corrections
 18                                                                         18            in the appended Errata Sheet;
 19 If the errata is not returned within thirty days of your receipt of               They signed the foregoing Sworn
                                                                            19            Statement; and
 20 this letter, the reading and signing will be deemed waived.                       Their execution of this Statement is of
 21                                                                         20            their free act and deed.
    Sincerely,                                                              21        I have affixed my name and official seal
 22                                                                         22    this ______ day of_____________________, 20____.
    Production Department                                                   23            ___________________________________
                                                                                          Notary Public
 23                                                                         24
 24                                                                                      ___________________________________
 25 NO NOTARY REQUIRED IN CA                                                25           Commission Expiration Date


                                                                                                                                33 (Pages 126 - 129)
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